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§ , Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 1 of 127

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

MONSI LGGRKE,

)
)
Plamuff, § 1 4 cv - 5 5 1 JED - I~‘HM
V- ) Case No.
)
)
DEMETRIES DEERING, KARA ) '~
HUGHES, and LM GENERAL ) F § h E §
INSURANCE COMPANY, ) SEP 1 7 2014
Defendants_ § . Phil Lomt)ardi, C|erk
U.S. DISTR|CT COURT
NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant LM General Insurance
Company (”Defendant") hereby removes the above-captioned action from the District
Court of Tulsa County, State of Oklahoma, to the United States District Court for the
Northern District of Oklahoma. In support of this removal, Defendant states as follows:

1. On October 16, 2013, Plaintiff Monsi L’Ggrke (”Plaintiff”) commenced an
action in the District Court of Tulsa County, Oklahoma, entitled L’Ggrke 7). Deerz`ng,
Hughes, and Liberty Mutual Group Inc., as Case No. C]-2013-4766 (the ”State Court

Action"). A true copy of the state court docket sheet is attached as Exhibit 1. All
process, pleadings, and orders filed or served in the State Court Action are attached

hereto as Exhibits 2 through 27.

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2. According to the Second Amended Petition, Plaintiff is a resident of Tulsa
County, Oklahoma. Defendant LM General Insurance Company is a company
organized under the laws of the State of Illinois With its principal place of business in
Boston, Massachusetts.

3. Defendant LM General Insurance Company respectfully submits that, for
the purposes of diversity jurisdiction, Defendant Demetries Deering and Kara Hughes’s
citizenship should be disregarded While Defendants Deering and Hughes reside in
Tulsa County, Oklahoma, the record evidence demonstrates that their continued
joinder, or fraudulent retention, in this action serves only to frustrate federal
jurisdiction. See Wagoner z). Hussey Seating Co., 2013 U.S. Dist. LEXIS 157238, *11 (N.D.
Okla. Nov. 1, 2013).

4. The evidence in the record demonstrates that Plaintiff has failed to
prosecute his case against Defendants Deering and I-Iughes. Significantly, Plaintiff has
not requested issuance of summons or served Defendants Deering or Hughes With the
First Amended Petition or Second Amended Petition. (See id.) Neither Defendant
Deering nor Defendant Hughes has ever filed an answer or motion in the state court
action. (See State Court Docket Sheet, attached as Exhibit 1). Plaintiff has not served
Defendants Deering or Hughes With any discovery requests, nor have Defendants
Deering or Hughes served Plaintiff With discovery requests. (See id.). Plaintiff has not

served Defendants Deering or Hughes With any pleadings since inception of this action.

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Plaintiff’s continued misjoinder of Defendants Deering and Hughes as Defendants
in this action is intended solely to destroy diversity. See Turley z). Stz'llwell, 2011 U.S.
Dist. LEXIS 30278, *18 (N.D. Okla. Mar. 22, 2011) (quoting Erdey z). American Honda Co.,
96 F.R.D. 593, 599 (M.D. La. 1983)) (”The Court finds persuasive the rule that ’[w]here
plaintiff, by his voluntary act has definitely indicated his intention to discontinue the
action as to the non-diverse defendant, plaintiff has indicated that he no longer desires
to dictate the forum and the case then becomes removable,’ . . . To hold otherwise
would give plaintiffs the power to evade federal jurisdiction simply by refusing to
execute formal dismissal of a defendant.”).

5. In accordance with 28 U.S.C. § 1446(b)(1), this action has been removed within
thirty (30) days of the filing of Plaintiff’s Second Amended Petition on September 2,
2014. See Caudill z). Ford Motor Co., 271 F. Supp. 2d 1324, 1328 (N.D. Okla. 2003)
(instructing that removal within the one year limitation and making fraudulent joinder
argument to federal district court is an acceptable procedure to eliminate jurisdictional
gamesmanship).

6. The Northern District of Oklahoma includes the state judicial district in
which Plaintiff filed her Petition.

7. This is a civil action over which this Court has original jurisdiction based
on diversity of citizenship and amount in controversy pursuant to 28 U.S.C § 1332, and

which may be removed to this Court pursuant to 28 U.S.C. §§ 1441 and 1446.

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8. The Second Amended Petition asserts a cause of action for breach of an
insurance contract and breach of good faith and fair dealing in the handling of a claim
on an insurance policy. The amount in controversy for each cause of action exceeds
$75,000, exclusive of interest and costs. (See Second Amended Petition, ‘]I‘I[ 33 and 43,
attached hereto as Exhibit 22).

9. Contemporaneous with Defendant’s filing of this Notice, Defendant will
serve written notice to Plaintiff’s counsel of the filing, as required by 28 U.S.C. §1446(d).

10. Defendant LM General Insurance Company shall likewise file a true and
correct copy of its Notice of Removal with the Clerk of the District Court in and for
Tulsa County, State of Oklahoma, as required by 28 U.S.C. §1446(d).

CONCLUSION

Defendant LM General Insurance Company of America respectfully requests that
the State Court Action be removed from the District Court for Tulsa County, Oklahoma,
to the United States District Court for the Northern District of Oklahoma, and proceed

as an action properly removed thereto.

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 5 of 127

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Respectfully submitted,

William W. O’Connor, OBA No. 13200

Lindy H. Collins, OBA No. 30579

NEwToN O’CoNNoR TURNER & KETcHUM, P.C.
15 West Sixth Street, Suite 2700

Tulsa, Oklahoma 74119-5423

(918) 587-0101 telephone

(918) 587-0102 facsimile
boconnor@newtonoconnor.com
lcollins@newtonoconnor.com

ATTORNEYS FOR DEFENDANT, LM GENERAL
INSURANCE COMPANY

 

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 6 of 127
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CERTIFICATE OF SERVICE

I hereby certify that on the 17th day of September, 2014, a true and correct copy
of the forgoing was delivered via U.S. Mail, postage prepaid, to:

Trevor ]. Furlong

THE EDWARDS LAW FIRM
P.O. Box 1066
McAlester, OK 74848

ATTORNEYS FOR PLAINTIFF

Mwo@\

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William W. O'Connor

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 7 of 127

EXHIBIT 1

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govemed by this act, as well as other applicable state and federal |aws.

   
   

 

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA

 

 

 

 

ONS||D|;:€;KE’ No. CJ-20l3-4766
' (Civi| relief more than $10,000:

DEMETRlEs DEER|NG, NEGLIGENCE (GENERAL))
Defendant, and . _

KARA HUGHES| Flled. 10/16/2013
Defendant, and

LM GENERAL |NSURANCE COMPANY, J d _ Cha elle Carlos
Defendant. u ge' pp ’

Parties

 

DEER|NG, DEMETR|ES , Defendant

HUGHES, KARA , Defendant

LGGRKE, MONS| , Plaintiff

L|BERTY MUTUAL GROUP |NC. , Original Defendant (Amended)
LM GENERAL |NSURANCE COMPANY , Defendant

 

Attorneys
Attorney Represented Parties
COLL|NS, L|NDY H(Bar# 30579) L|BERTY MUTUAL GROUP |NC.,

15 West Sixth Street, Suite 2700
Tulsa, OK 74119

EDWARDS, MARK(Bar # 16570) LGGRKE, MONS|
P.O. BOX 1066
IV|CALESTER, OK 74502

O'CONNORl VV|LL|A|V| W(Bar# 13200) L|BERTY MUTUAL GROUP |NC.l
15 WEST 6TH STREET

SU|TE 2700

TULSA, OK 74119

 

Events

Event PartyDocket Reporter
Thursday, February 5, 2015 at 13:30 PNl Car|os

PRETRIAL CONFERENCE....TREVOR FURLONG REP PLTF....WM Chappe||e

O'CONNOR REP DEF...(PTC)

|ssues

 

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 9 of 127

|ssue #1. M |ssue: NEGL|GENCMENERAL) (NEGL)
Filed by: LGGRKE, |VlONSl
Filed Date: 10/16/2013
Party Name: Dis osition |nformation:

 

Defendant: DEER|NG, DEMETR|ES Pending.

Defendant: HUGHES, KARA Pending.
Defendant: LM GENERAL Pending.
|NSURANCE COMPANY
Defendant: L|BERTY MUTUAL Disposed: D|SM|SSED W|THOUT PREJUDlCE,
GROUP |NC. 09/16/2014. Dismissed- Settled.
|ssue # 2. |ssue: CROSS CLA||V| - DA|V|AGES (DAMAGE)

Filed byi L|BERTY MUTUAL GROUP |NC.
Filed Date: 12/03/2013

 

 

 

 

Pagy Name: Disgosition |nformation:
Pending.
Docket
Date Code Count Party Serial # Entry Date
oc116 2013
10-16-2013 TEXT 1 87052615 10140:42:443/\~| - $ 0.00
CIVIL REL|EF MORE THAN $10,000 |N|T|AL F|L|NG.
oct 16 2013 .
10-16-2013 NEGL - 87052617 10:40;42:483AM Realized $ 0.00
NEGL|GENCE (GENERAL)
10-16-2013 DMFE - 87052618 9(§;1,‘§422?5‘§3AM Reanzed s 2.00
D|SPUTE |V|EDIAT|ON FEE($ 2.00)
10-16-2013 PFE1 _ 87052619 O°‘ 162°13 Reaiized s 163.00

1:40;01;787PM
PET|T|ON($ 163.00)

loom/ment Avai/ab/e (#10228296951

oct 16 2013 .
10-16-2013 PFE7 - 87052620 10;40;42:523/\~, Rea|lzed $ 6.00
LAW L|BRARY FEE($ 6.00)

 

 

oci16 2013
10-16-2013 OC|SR ' 87°52621 10;40:42;523AM

OKLAHOMA COURT |NFORMAT|ON SYSTEl\/l REVOLV|NG FUND($ 25.00)

Rea|ized $ 25.00

 

o 116 2013 .
10-16-2013 CCADl\/|lNO2 - 87052622 10840:42:523AM Rea|\zed $ 0.20

COURT CLERK AD|V||N|STRAT|VE FEE ON $2 COLLECT|ONS($ 0.20)

 

o 116 2013 .
10-16-2013 OCJC - 67052623 10°:40:42:523AM Realized $ 2.00

OKLAHOMA COUNCIL ON JUDlClAL COMPLA|NTS REVOLV|NG FUND($ 2.00)

 

10-16-2013 ocAsA - 87052624 $§4})?422‘}§§3AM Realized $ 5.00

OKLAHOMA COURT APPO|NTED SPEC|AL ADVOCATES($ 5.00)

 

10-16-201300ADM1N04 - 81052625 $§4})?4§?5‘§3AM Realized $0.50

COURT CLERK ADM|N|STRAT|VE FEE ON COLLECT|ONS($ 0.50)

 

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 10 of 127
Date Code {"'Rount Farty Serial # Er"`zy Date

10-16-2013 LTF - 81052626 9(§§1"1§2§?§23%“,, Reaiized $ 10.00
LENGTHY TR|AL FUND($ 10.00)

 

10-16-2013 sMF - 67052627 95411?2§?§§3~`,| Reaiized $ 15.00
summons FEE (CLERKS FEE) (3)($ 15.00)

 

o 116 2013 -
10-16-2013 Sl\/||l\/lA - 37052628 1§40:42:723AM Reallzed $ 0.00
SUMMONS lSSUED - |V|A|LED BY ATTORNEY

 

10-16-2013 slvnP _ 87052629 9(§;})§4§?§3%~‘ Reaiized $ 0.00
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001 16 2013
10-16-2013 TEXT - 67052616 10:40:42:463/`~| - $ 0.00
OC|S HAS AUTO|V|AT|CALLY ASS|GNED JUDGE CHAPPELLEl CARLOS TO THIS CASE.

 

10-16-2013 AccouNT - 87052648 9(§‘411§5§?3§3/“`,, - $ 0.00

RECE|PT # 2013-2704849 ON 10/16/2013.

PAYOR;EDWARDS LAW FlR|V| PLLC TOTAL AMOUNT PA|D$ $228.70.

L|NE lTEMS:

CJ-2013-4766: $178.00 ON ACO1 CLERK FEES.

CJ-2013-47662 $6.00 ON AC23 LAW L|BRARY FEE.

CJ-2013-47661 $0.70 ON AC31 COURT CLERK REVOLV|NG FUND.

CJ~2013-4766: $5.00 ON AC58 OKLAHOMA COURT APPO|NTED SPEC|AL ADVOCATES.
CJ-2013-47662 $2.00 ON AC59 OKLAHOMA COUNC|L ON JUD|C|AL COMPLA|NTS
REVOLV|NG FUND.

CJ-2013-4766; $2.00 ON AC64 D|SPUTE MED|AT|ON FEES.

CJ-2013-47661 $25.00 ON AC79 OC|S REVOLV|NG FUND.

CJ-2013-47661 $10.00 ON AC81 LENGTHY TR|AL FUND.

 

Nov1 2013
10-29-2013 SMS - 67337496 10:44:25:030/`~| - $ 0.00

SUMMONS RETURNED, SERVED: BY CERTlFlED |VIA|L TO CORPORAT|ON SERV|CE
COMPANY S|GNED BY G PARR|SH ON 10/23/2013

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11-07-2013 EAA - 87409986 §:g:;§g§;m - s 0.00
QuALlFlED ENTRY oF APPEARANCE & REQuEsT FoR ENLARGEMENT oF T|ME IN wHicH
To FuRTHER ANSWER oR PLEAD (HARRY PARRlsi-i ENTERs As couNsEL -
CovERsHEET ATTACHED) / cERTiFIcATE oF sEvacE

 

L|BERTY MuTuAL Nov 8 2013
11-07-2013 EAA - GROuP |NC. 67410072 9:07:13:047AM - $ 0.00

QUAL|F|ED ENTRY OF APPEARANCE & REQUEST FOR ENLARGEMENT OF T|ME |N WH|CH
TOFURTHER ANSWER OR PLEAD (HARRY PARR|SH ENTERS AS COUNSEL)/
CERTlFlCATEOF SERV|CE

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L|BERTY MuTuAL Dec 4 2013
12'03'2013 A ' GRouP |NC. 876551°3 10:07:00:110AM ' $ O~OO

DEFT L|BERTY MUTUAL GROUP |NC'S ANSWER TO PLTF'S PET|T|ON & L|BERTY MUTUAL
GROUP |NC'S CROSS CLA|M / CERT|F|CATE OF SERV|CE

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Jan 3 2014
01-03-2014 S - DEER|NG, DEMETRlEs 67932750 11:23:29:237}\~| - $ 0.00

PARTY HAS BEEN SUCCESSFULLY SERVED. SUMMONS SERVED FOR DE|V|ETR|ES
DEER|NG, PERSONAL SERV|CE, ON 12-29-13, BY PROCESS SERVER

lDocument Avai/ab/e (#1023876554)

 

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 11 of 127

Date Code Mount Party Seria|# Mbate

01-03-2014 S - HuGHEs, KARA 87932308 §§"2;§21;17/`~| - $ 0.00

PARTY HAS BEEN SUCCESSFULLY SERVED. SUMMONS SERVED FOR KARA HUGHES,
PERSONAL SERV|CE, ON 12-29-13, BY PROCESS SERVER

Document A vai/able (#1023876550)

 

02-19-2014 Mo - LGGRKE, MoNsi 88454562 Feb 2° 2014 - s 000

2;49:21:683PM
MOT|ON TO ENTER SCHEDUL|NG ORDER (C/J)
lDocumentAvai/ab/e (#1024318670)

 

02-21-2014 cTFREE _ 88461506 §;*;?219?7‘;17‘1\M _ s 000
cHAPPELLE, cARLos; GRANTED/oRDER sETTiNG HEAR\NG; sET 3/26/14 AT 9;00 A.ivi.

 

02-26-2014 osH - 88528543 §$2*;:231:21%17‘}`~, - s 000
oRDER sETTlNG HEAR|NG / sET oN 3-26-14
loocument Ava//ab/e (#1024317994)

 

 

03-10-2014 cTFREE - 88635180 §§§;119,§5%1341\0 - s 000
cHAPPELLE, cARLos; GRANTED/AGREED scHEDuLiNG oRDER; PRETR\AL sET 9/30/14
AT 9;30 A.ivi.

03-10-2014 CTFREE - 88635239 'V‘*" 10 2014 _ s 000

9253:58:153AM

CHAPPELLE, CARLOS; HEAR|NG 3/26/14 STR|CKEN AS AGREED SCHEDUL|NG ORDER
SUB|V||TTED.

 

ivi 13 2014

03-12-2014 SCHO - 88685381 11§§1:35:310,“`/| - $ 0.00
AGREED SCHEDUL|NG ORDER (OF 3-10-14)
E=lDocument Ava/'/ab/e (#1024584863)

Mar 31 2014
03-31-2014 CTFREE - 66873100 2103;23:18”,~| - $ 0.00

CHAPPELLE, CARLOS; GRANTED/ANIENDED AGREED SCHEDUL|NG ORDER; PRETRIAL
SET10/30/14 AT 9200 A.|Vl.

 

 

Mar 31 2014
03-31-2014 CTFREE - 83673184 2:07:18:967PM - s 0,00

CHAPPELLE, CARLOS; PRETR|AL SET 9/30/14 STR|CKEN AND RESET.

 

04-03-2014 A|v| - 36918223 J"" 2 2014 - $ 0.00

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AMENDED AGREED scHEDuLlNG oRDER / 3-31~14
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06-25-2014 MO - LGGRKE, MoNsl 90462556 ‘1]“1'?1§§4§?£;““” - $ 0_00

PLA|NT|FF'S IV|OT|ON TO AMEND PET|T|ON TO ADD BAD FA|TH CLA|M /A TO J /
CERT|F|CATE OF MA|L|NG

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07-14-2014 EAA _ §§§§P“"§"§TUAL 90668118 §§3'51§§2;43 AM - $ 000
ENTRY oF APPEARANCE / L|NDY coLLle ENTER|NG As CouNsEL/ cERTlFlCATE oF
sEvaCE / W-Cs
El Document A val/able [#1 026480577)

07-14-2014EAA - estimate assist - 1100
ENTRY oF APPEARANCE / WlLLlAlvl W o'coNNER ENTER|NG As CouNsEL / W-Cs/
CERTlFlCATE oF sEvaCE

loocument Ava//ab/e (#1026480581)

 

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 12 of 127

Date Code Bount Party Serial# E» Date
07-14-2014 RESP - g§§§§¥"§"§lu“ 90663851 ;§§E;:;§g},§m - s 000

DEFENDANT L|BERTY MUTUAL GROUP |NC'S RESPONSE AND OBJECT|ON TO PLA|NT|FF'S
|VlOT|ON TO AMENDED / CERT|F|CATE OF SERV|CE

§ Document AVai/able (#1026480588)

 

 

 

07-16-2014 APLl - §§§§LY"§"(§{TUAL 90724858 j?a'g:§fg;§m - s 000
APPLchTloN To W|THDRAW As couNsEL oF REcoRD / HARRY A PARRlsH /A To J/
cERTlFchTE oF sEvacE
Document Ava/'/ab/e (#10264 781 84)

07-21-2014 cTFREE _ 90129201 jg':§g:f§;;mm - s 000

CHAPPELLE, CARLOS; GRANTED/ORDER ALLOW|NG W|THDRAWAL OF COUNSEL;

 

Jui 22 2014
07'21'2014 0 ' 9°742754 9108;28:163AM ' $ O~OO

oRDER ALLovleG W|THDRAWAL oF couNsEl_/ HARRY A PARRisi-i /
Eoocumem Avai/ab/e (#1026631587)

 

07-28-2014 cTFREE _ 90806502 ;S§§§§‘;L';AM - $ 000

CHAPPELLE, CARLOS; ORDER; PLA|NT|FF'S NlOT|ON TO AMEND PET|T|ON TO ADD BAD
FA|TH CLA||V| F|LED 06-25-14 |S GRANTED. PLA|NT|FF SHALL HAVE 20 DAYS FRO|V| THE
DATE OF TH|S ORDER TO F|LE AN AMENDED PET|TlONl AND DEFENDANT L|BERTY
MUTUAL GROUP, |NC., SHALL HAVE 20 DAYS THEREAFTER TO F|LE AN ANSWER TO THE

 

AMENDED PET|T|ON.
COUNSEL FOR PLA|NT|FF TO PREPARE ORDER. NOT|CE TOZ TREVOR FURLONGl HARRY
PARR|SH;
J 129 2014
07-28-2014 0 - 90825914 9‘:‘55:42:490AM - $ 0.00

ORDER / SEE |V||NUTE ENTRY / AFD OF MA|L|NG
Document A vai/able (#10266348271

L|BERTY MuTuAL Aug 6 2014
08-06-2014 MO - GROUF, |NC_ 90916394 4:58:26:497PM - $ 0.00

MOT|ON TO EXTEND EX|ST|NG SCHEDUL|NG ORDER DEADL|NES / A2J
.DocumentAvai/ab/e (#10268190311

08-06-2014 AMP - LGGRKE, MoNsl 90919073 A“g 7 2014 - $ 0.00

92522522920AM
F|RST AMENDED PET|T|ON
Document AVai/ab/e (#1026821967)

 

 

 

08-08-2014 cTFREE - 90930121 Q}c',%§§§l§m - s 000

CHAPPELLE, CARLOS; GRANTED/SECOND AGREED AMENDED SCHEDUL|NG ORDER;
PRETR|AL 2/5/15 AT1Z3O P.lV|.

 

A 112014
08-08-2014 AM - 90941932 8;97:30:633»"“ - $ 0.00
SECOND AGREED AMENDED SCHEDUL|NG ORDER / 8-8-14,
§ Document Available (#102681 74291

08-08-2014 cTFREE - 90985235 §§92:11§§,‘;§;,~, - $ 000

CHAPPELLEl CARLOS; PRETR|AL 10/30/14 STR|CKEN AND RESET.

 

 

09-02-2014 AMP - LGGRKE, MoNsl 91177178 Sep 2 2014 - $ 0.00

4:50;11:513PM
SECOND AMENDED PET|T|ON
l§l Document Avai/able (#1026990273)

 

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 13 of 127

Date Code Mount Party Serial # Er%)y Date

09-03-2014 Mo - 91193085 §;§;§§11§AM - s 000
DEFENDANT LM GENERAL |NSURANCE COMPANY'S MOTION FOR ENTRY OF AGREED
PROTECT|VE ORDER /A TO J

l§oocument Avai/ab/e (#1026992860)

 

09-04-2014 cTFREE - 91193062 §;gj,§g;§m - $ 000
CHAPPELLE, cARLos; GRANTED/AGREED PRoTECTlvE oRDER;

 

 

 

09-04-2014 o - 91208230 §§gj)§g;§m - $ 000
AGREED PROTECT|VE ORDER
Document Avai/able (#1026992357)

09-12-2014 NO - DEER|NG, DEMETRlEs 91300903 Sep15 2°14 - $ 0.00

7:53:23:647AM

L|BERTY lVlUTUAL GROUP |NC'S NOT|CE OF D|SMISSAL OF CROSS-CLA|MS W|THOUT
PREJUDC|E AS TO DEFENDANTS DEMETR|ES DEER|NG AND KARA HUGHES

loom/ment Avai/ab/e (#1027192648)

 

LM GENERAL sep 15 2014
09`12'2014 A ' leuRANcE coMPANY 913°°922 8;04;31:077AM ' $ O~OO

ANSWER OF LM GERAL |NSURANCE COMPANY TO PLA|NT|FF'S SECOND AMENDED
PET|TlON / CERT|FICATE OF SERV|CE

l§oocument Avai/ab/e (#1027192644)

 

L|BERTY MuTuAL sep 17 2014
09-16-2014 DWOP - GROUP |NC_ 91332934 7:05:54:810AM - $ 0.00

NOT|CE OF D|S|Vl|SSAL W|THOUT PREJUD|CE AS TO DEFENDANT L|BERTY MUTUAL
GROUP INC BY PLFS ATTY

@Document unavai/ab/e (#1027190411)

 

09-16-2014 DISPvaoP 1 §§§§LWC§FUAL 91332935 §§';;1371:27‘§,1," - $000

DlSl\/I|SSAL W|THOUT PREJUDlCE

 

 

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Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 14 of 127

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EXHIBIT 2

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 15 of 127

 

 

IN THE DISTRICT COURT IN AND FOR TULSA COUNTYDISTRICT COURT

ED

STATE OF OKLAHOMA
MoNsILGGRKE ) gm 16 2013
Plaintifr, § UWSWM%MWK
- vs - ) Case No.
MMEMWsWHrH-E § m “ 2 1 1 3 “' 9 4 7 3 6
Defendants. § CARLOS J. CHAPPELLE

PETITION
COMES NOW, the Plaintiff by and through his attorney of record, Mark L. Edwards, and

for his cause of action against the Defendants, Demetries Deering, Kara Hughes and Liberty

Mutual Group Inc., alleges and states as follows:
l. That the Plaintiff`, Monsi L’Ggrke is a resident of Tulsa, Tulsa County, Oklahoma,
2. That the Defendant, Demetries Deering, is a resident of Tulsa, Tulsa County,

Oklahoma.
3. That the Defendant, Kara Hughes, is a resident of Tulsa, Tulsa County,

Oklahoma.
4. That the Defendant Liberty Mutual Group Inc., is the Plaintiff’s uninsured/

underinsured motorist carrier, at the time of the collision Therefore, Plaintiff brings this action ,_

»"3 tz‘:='<';

against Liberty Mutual Group Inc. to establish his rights to the underinsured motorist coverage,;`}i_"",j

n

5. That the accident which gives rise to this action occurred on August l, 2012110
. .1"` 4_ "

Tulsa County, Oklahoma.

s:=i 1~:.1 911

6. That this Court has jurisdiction and venue in this matter.

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 16 of 127

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7. That the Plaintiff was without fault and that the damages from the accident were
directly and proximately caused by and due to the negligence of the Defendant, Demetries
Deering and Kara Hughes as set forth below.

8. That on or about August l, 2012 Plaintiff was a passenger in a vehicle that was
stopped at a red light on E. 71st street in the westbound left turn lane on South Wheeling Avenue.
He was waiting to turn left when he was struck from behind by Demetries Deering.

COUNT I

9. That Defendant Demetries Deering was negligent in striking the back of the
vehicle containing Plaintiff.

10. That as a result of that negligence Plaintiff was injured and as suffered damages.

ll. That Plaintiff’s damages include, but are not limited to past and future physical
pain and suffering, past and future mental anguish, medical expenses and permanent injury.

12. Wherefore, Plaintiff prays for a judgment against Defendant Demetries Deering in
an amount in excess of $75,000.00, his costs, and other relief to which he may be entitled.

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13. That Defendant Kara Hughes was the owner of the vehicle driven by Defendant
Demetries Deering when the aforementioned wreck occurred.

14. That Defendant Kara Hughes negligently entrusted her vehicle to Defendant
Demetries Deering.

15. That as a result of that negligence Plaintiff was injured and has suffered damages.

16. That Plaintiff’s damages include, but are not limited to past and future physical

pain and suffering, past and future mental anguish, medical expenses and permanent injury.

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 17 of 127
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17. Wherefore, Plaintiff prays for a judgment against Defendant Kara Hughes in an
amount in excess of $75,000.00, his costs, and other relief to which he may be entitled.
COURT IH
18. That Defendant Liberty Mutual Group Inc. insured the Plaintiff Monsi ngrke
with an automobile policy that provided uninsured/underinsured motorist coverage
19. That Defendant’s Demetries Deering and Kara Hughes were at the time of the
aforementioned collision, uninsured or underinsured as defined in Plaintiff’s policy with
Defendant Liberty Mutual Group Inc.
20. That due to the nature and extent of Plaintiff’ s injuries, Defendant Liberty Mutual
Group Inc., is bound to pay Plaintiff the limits of said policy, or $500,000.00.
21. Wherefore, Plaintiff prays for a judgment against Defendant Liberty Mutual
Group Inc. in an amount in excess of $75,000.00, his costs, and other relief to which he may be
entitled.
JURY TRIAL DEMAND RESERVED
ATTORNEY LIEN CLAIMED
Respectfully submitted,

THE EDWARDS LAW FIRM

WW

M 15 Edwards, oBA # 16570
e Edwards Law Firm

P.O. Box 1066

McAlester, OK. 74848

(918) 302-3700

(918) 302-3701

ATTORNEY FOR PLAINTIFF

ll

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 18 of 127

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EXHIBIT 3

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 19 of 127
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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY

 

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5a2013w04766

Case No.

MONSI LGGRKE
Plaintiff,
.. Vs ..

DEMETR_IES DEERING, KARA HUGHES
And LIBERTY MUTUAL GROUP INC.

Defendants.
SUMMONS CARLOS J. CHAPPELLE
”`.é
TO THE ABOVE NAMED DEFENDANT: Liberty Mutual Group Inc. "J "g;

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c'> /"
You have been sued by the above named Plaintiff, and you are directed to file a w@n;Answ§n to
the attached Petition in the court at the above address within twenty (20) days alterBr\_/ie_e of,this
Summons upon you, exclusive of the day of service. Within the same time, a copy of/_y`p`ui"Ans\i/'§
must be delivered or mailed to the attorney for the Plaintiff. 1135 ‘:l\ c:o
Unless you respond to the Petition within the time stated, judgment will be rendel/'edcd'gainsfp
you for the relief demanded in the Petition, together with the costs of the action.

Issued on October lb , 2013. .
Sally Howe Smith, couRT CLERK

[SEAL]
By “
Deputy ourt ler
Mark Edwards, OBA# 16570
The Edwards Law Firm
321 s. 3“* street suite 1
P.O. Box 1066

McAlester, Ok 74502

1 Telephone 918-302-3700
Fax 918-302-3701
Attorney for Plaintiff

YOU MAY SEEK THE ADVICE OF ANY ATTORNEY ON ANY ER ONNECTED
WITH THIS SUIT OR YOUR ANSWER. SUCH ATTORNEY SHO - BE ONSULTED
IM]V.{EDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN T IME LIIVIIT
STATED lN THE SUMMONS.

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 20 of 127
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THIS NOTICE WAS SERVED ON (Date of Mailing) _ 101 9/1\115

(Signature of person serving Notice) 1 j Yl/i""

00 janice
I certify that I delivered o of the Peti 'o t at the address
l lf) did §§ lLQ ,l)\é /1,‘§ §§ ,onthe 556 dayof ,20@

I certify that I mailed copies of the foregoing summons with a copy of the petition
attached to the following named defendant at the address shown by certified mail, addressee
only, return receipt requested, on day of . 201 . and receipt
thereof on the dates shown:

 

 

 

 

 

 

I declare under penalty of perjury under the laws of the United States of America that the

foregoing informa ion is true and correct. . l
Executed on 101:@13 l ; wit/22
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Printed Name of Server

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Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 21 of 127

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Oklahoma City, Ok 73139

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Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 22 of 127

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EXHIBIT 4

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 23 of 127

 
 

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lillile z
IN THE DISTRICT COURT lN AND FOR TULSA COUNTY
STA'I`E OF OKLAHOMA
MONSI LGGRKE, )
)
Plaintiff, )
)
vs. ) Case No. CJ-2013~4766
) .ludge Chappelle
DEMETRIES DEERlNG, KARA HUGHES, ) DISTRICT COURT
and LIBERTY MUTUAL GROUP lNC. ) § D

NOV 0 7 2013
QUALIFIED ENTRY or APPEARANCE AND
REQIJEST FOR ENLARGEMENT oF TIMMvHowe san
IN wI-HCH T0 FURTI-IER ANSWER oR PLEA‘°l¥i‘TE erwin it€e(iu§§§liir““

Pursuant to 12 Okla. Stat. § 2012, Harry A. Parrish of Franden | Woodard | Farris |
Qnillin + Goodnight, Williams Center 'l`ower II, Ste. 900, 2 W. 2“d St., Tulsa, Oklahoma 74103,
hereby enters a qualified entry of appearance and request for enlargement of time in which to
further answer or plead on behalf of Defendant, Liberty Mutual Group Inc., and reserves an
additional twenty days, or until December 2, 2013, within which to further plead or answer.

Pursuant to Yolmg v Wallon, 1991 OK 20, this qualified entry of appearance `Ed_bes not

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Waive any defense enumerated in 12 O.S. § 2012(B), including defenses ritrliiher'ed 2, 3,",?;4, 5, 6

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and 9. See also Fi)'.s'l Te.\'as Savings Assocl'afion v. Be)'nsen, 921 P.2d 1293jf_"(Ql<'_ CI\Z; APP.
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1996) (holding that a defendant may qualify an entry of appearance and requestiix('ddltlona,l time
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to further plead pursuant to 12 O.S. 2012(A). The qualified entry of appearance and reqti`é§t for

additional time will not waive the defenses enumerated in §2012(B).

 

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 24 of 127
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Respectfully submitted,

By ?i/W/‘<dpwb

Hm~r-y§a/Pm~nsh, GBA #l 1463

Franden | Woodard | Farris l Qui|lin
+ Goodnight

Williams Center Tower ll

Two West Second St,, Suite 900

'I`ulsa, OK 74103-3101

918/583-7129

FAX 918/584-3814

Aflomeyfor Defendant

Liberlfv Mumal Group Inc.

CERTIFICATE OF SERVICE

This is to certify that on this '/i`“/` day of November, 2013, a true and correct copy of the
above and foregoing was mailed via U.S. Mail, sufficient postage prepaid, to the following:

Mark L. Edwards

The Edwards Law Firm
P.O. Box 1066
McAlester, OK 74848
Atfomey for Plaintiff

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Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 25 of 127

 

EXHIBIT 5

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 26 of 127

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\\\ IN THE DISTRICT COURT lN AND FOR TULSA COUNTY § § iT COURT
sTATE oF oKLAI-IOMA § D
MONS1LGGRKE, ) DEC " 3 2013
)
' ' sAu
Plaintiff, § STA¥§SWS}§M|T;IUOOURE&$$K
vs. ) Case No. CJ-2013-4766
§§ _ ) Judge Chappelle
DEI\;i-'_E TRl_i_§S DEERING, KARA l'IUGHES, )
ancl,l:lBERTY MUTUAL GROUP lNC. )

‘_. ‘__l :'-._'

DEFENDANT LIBER"I Y MUT UAL GROUP INC. ’S ANSWER 'l 0 PLAIN "l IFF’S
;I’LC:I`JTION AND LIBER'I`Y MU .`l UAL GROUP INC. ’S CROSS- CLAIM

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ZDISDE

Defendant Liberty Mutual Group Inc., for its answer to Plaintist petition filed herein,
alleges and states:

l. Defendant admits the allegations of paragraphs 1, 4, 5, and 6 of the petition.

2. Defendant admits, upon information and belief, the allegations of paragraphs 2 and 3 of
Plaintist petition.

3. Defendant denies the allegations of paragraph 7 of the petition.

4. Defendant admits that an accident occurred generally at the time and place alleged in
paragraph 8, and further admits, upon information and belief, that Plaintiff was a
passenger in a vehicle as alleged. Defendant denies the remainder ol` paragraph 8.

5. Paragraphs 9 through 12 and 13 through 17 do not contain allegations against this
Defendant, and this Defendant is not required to respond further. To the extent these
paragraphs do contain allegations against this Defendant, they are denied.

6. Defendant admits the allegations of paragraph 18 of Plaintiff’s petition.

7. Defendant denies the allegations of paragraphs 19, 20, and 21 of the petition.

8. Defendant specifically denies that the co-defendants Were uninsured or underinsured, and

Plaintiff is therefore precluded from recovering against this Defendant.

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 27 of 127
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9. By way of further defense, Defendant alleges that the injuries complained of by Plaintiff
were preexisting in nature, and were neither caused nor worsened by the subject accident

10. As discovery has not yet begun, Defendant is without sufficient information to assert
other defenses beyond those contained herein, and Defendant hereby reserves the right to
amend its answer prior to pretrial herein.

WHEREFORE, having answered fully, Defendant Liberty l\/iutual Group Inc. prays that
Plaintiff take nothing by way of his petition filed herein against this Defendant, and that this
Defendant have judgment in its favor, together with its costs and such other relief as the Court
deems proper.

CROSS-CLA]M

COMES NOW the Defendant, Liberty Mutual Group Inc., and for its cross-claim against
Defendants Demetries Deering and Kara Hughes, alleges and states:

1. Plaintiff has alleged that co-defendants negligently caused an accident, resulting in
injuries to Plaintiff, and that co-defendants were uninsured or underinsured at the time of
the accident, and for these reasons, Plaintiff is entitled to recover uninsured motorist
benefits from this Defendant under a policy issued by it to Plaintiff`.

2. In the event Plaintiff is entitled to recover against this Defendant, this Defendant is
entitled, pursuant to the terms of its policy and pursuant to Oklahoma statute, to recover
against the co-defendants.

WHEREFORE, in the event Defendant Liberty Mutual Group inc. is found liable to
Plaintiff, Liberty Mutual Group Inc. prays for judgment against Defendants Demetries Deering
and Kara Hughes for all such sums, together with its costs and such other relief as the Court

deems proper.

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 28 of 127

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Respectfully submitted,

By ;z/“%)T£DM

Harrya-.ernsh, oBA #11463

Franden | Woodard | Farris | Quillin
+ Goodnight

Williams Center Tower 11

Two West Second St., Suite 900

Tulsa, OK 74103-3101

918/583-7129

FAX 918/584-3814

Aftorneyfor Defendant

Liberty Mutual Group Inc,

 

CER'l`IFICATE OF SERVICE

'l`his is to certify that on this 305 day of December, 2013, a true and correct copy of the
above and foregoing was mailed via U.S. I\/Iail, sufficient postage prepaid, to the following:

Mark L. Edwards

The Edwards Law Firm
P.O. Box 1066
McAlester, OK 74848
Attorney for Plaintiff

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Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 29 of 127

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EXHIBIT 6

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 30 of 127

 

 

 

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTYJAN _ 3 2014

STATE OF OKLAHOMA sgtTiAyéigt;/Smn%£c&pgguck$y
MONSI LGGRKE )
~ . )

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- vs _ ) Case No.

DEMETRIES DEERING, KARA HUGHES §
And LIBERTY MUTUAL GROUP lNC. )
Defendants. §

SUMM()NS CARLOS J. CHAPPELLE

TO THE ABOVE NAMED DEFENDANT: Demetries Deering

You have been sued by the above named Plaintif`f, and you are directed to file a written Answer to
the attached Petition in the court at the above address within twenty (20) days after service of this
Summons upon you, exclusive of the day of service. Within the same time, a copy of your Answer
must be delivered or mailed to the attorney for the Plaintit`f.

Unless you respond to the Petition within the time stated, judgment will be rendered against
you for the relief demanded in the Petition, together with the costs of the action.

Issued on October §§ , 2013.
Sally Howe Smith, coUnT cLERK

[sEAL]

By t
Depu ourt lerk
Mark Edwards, OBA# 16570
The Edwards Law Firm
321 s. 3rd sneec, suite 1
P.O. Box 1066
McAlester, Ok 74502
Telephone 918-302-3700
Fax 918-302-3701 '
Attorney for Plaintiff H `L)ivi\_`l§i i_;tg]\%iii%_)\`d$
° il
YOU MAY SEEK THE ADVICE OF ANY ATTORNEY ON ANY MATTER CONNECTED
wITH THIs sUI'r oR Yo ~, W N$U¢’HZATTORNEY sHoULD BE coNsULTED
IMMEDIATELY SO THAT AN ER MAY BE F|LED WITHIN THE TIME LIMT
STATED IN THE SUMMONS.

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 31 of 127
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State of OKLAHOMA County of TULSA District Court

case `Number: CJ-2013-04766

Plaintiff:
MONS| LGGRKE

VS.

Defendant:
DEMETR|ES DEER|NG, KARA HUGHES and L|BERTY MUTUAL GROUP. |NC

Received by Ma|an investigations on the 27th day of December, 2013 at 7:30 pm to be served on DEMETR|ES DEER|NG.
7132 S UT|CA AVE APT 915, TULSA, OK 74136.

|, SCOTT MALAN, being duly sworn, depose and say that on the 29th day of December, 2013 at 2:48 pm, l:
lNDthDUALL¥/PERSONALLY served by delivering a true copy of the Summons and Petition with the date and hour of
service endorsed thereon by me, to: DEMETR|ES DEER|NG at the address of: 3167 S 130TH E PL, TULSA, OK 74134, and
informed said person of the contents therein, in compliance with state statutes

l certify that | am over the age of 18. have no interest in the above action, and am a Certilied Process Server, in good
standing, in the judicial circuit in which the process was served.

 

 

 

    

\
Subscribed and Sworn to before me on the 30th day of _ COTT MALAN
Decemb r. 2013 by the affi twho is personally known to PSS # 2013-69
' %’l¢ ; Ma|an Investlgatlons
P.O. Box 50455
.yQIAB&nueeie‘-;;;;;;m\o ruisa, oK 14150
».,:.j_ "~ ama ot warsaw (918) 592~5600
l v um 7 Our Job Serial Number: MAL-2013001563
. Ref: LGGRKE VS DEER|NG/HUGHES

 

 

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Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 32 of 127

 

EXHIBIT 7

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 33 of 127

 

 

 

 

 

 

 

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY AN_ 3 2014
MONSI LGGRKE STATE OF (:KLAHOMA s%%g%¥%§&n%UWK
Plaintiff, ' §CQ§B,SGH,BEOQF?GG
- vs - § Case No. 1
DEMETRIES DEERING, KARA HUGHES §
And LIBERTY MUTUAL GROUP lNC. )
Defendants. §

SUMMONS CARLOS J. CHAPPELLE

TO THE ABOVE NAMED DEFENDANT: Kara Hughes

You have been sued by the above named Plaintiff, and you are directed to file a written Answer to
the attached Petition in the court at the above address within twenty (20) days after service of this
Summons upon you, exclusive of the day of service. Within the same time, a copy of your Answer
must be delivered or mailed to the attorney for the Plaintiff.

Unless you respond to the Petition within the time stated, judgment will be rendered against
you for the relief demanded in the Petition, together with the costs of the action.

Issued on October /é , 2013.
Sally Howe Smith, COURT CLERK

By %/S<%e/
/

Deputy Co\irt Clerk
Mark Edwards, OBA# 16570
The Edwards Law Firm
321 s. 3“‘ screer, suite 1
P.O. Box 1066
McAlester, Ok 74502
Telephone 918-302-3700
Fax 918-302-3701

. - -131100
Attomey for Plaintiff \\\>\;'A|§LO“O \ I\TW€

YOU MAY SEEK THE ADVICEw OF ANY ATTORNEY ON ANY MATTER CONNECTED
WITH THIS SUIT Ol'}na' EV'IMFW H ATTORNEY SHOULD BE CONSULTED
IMMEDIATELY SO A§ISWER MAY BE FILED WITH[N THE TIME LMT
STATED ]N THE SUM:MONS.

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 34 of 127

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fi- AFFlDAvlT oF sEvacE f““

State-of OKLAHOMA County of TULSA District Court
Case Number: CJ-2013-04766

Plaintiff:
MONS| LGGRKE

VS.

Defendant
DEMETR|ES DEER|NG, KARA HUGHES and LlBERTY MUTUAL GROUP, |NC

Received by Maian investigations on the 27th day of December, 2013 at 7:30 pm to be seNed on KARA HUGHES, 7132 S
UT|CA AVE APT 915, TULSA, OK 74136.

l, SCOTT MALAN, being duly sworn. depose and say that on the 291h day of December, 2013 at 2:48 pm, |:
|ND|V|DUALLYIPERSONALLY served by delivering a true copy of the Summons and Petition with the date and hour of
service endorsed thereon by me, to: KARA HUGHES al the address of: 3167 S 1307H E PL, TULSA, OK 74134, and

informed said person of the contents therein, in compliance with state statutes

l certify that | am over the age of 18, have no interest in the above action, and am a Certined Process Server. in good
standing, in the judicial circuit in which the process was served

 

 

Subscribed and Sworn to before me on the 30th day of /S€GTT MALAN

Decemb , 2013 by the ama who is personally known to PSS # 2013-69
me. . ~ '
‘ / ( _ Malan investigations

’ ' “b"°' P.O. Box 50455
state ot oklahoma Tulsa, OK 74150
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Our Job Serial Number: MAL-2013001564
Rei: LGGRKE VS DEER|NG/HUGHES

 
   

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Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 35 of 127

 

EXHIBIT 8

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 36 of 127

 

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vs. 32 ;_;_~"; ,;j. ) case No. CJ-2013-4766
30 ` .",;_.ii ) Judge Chappelle
DEW§TRI§;$._~;)EERING, KARA HUGHES, )
magiser MUTUAL GROUP INC. )

MOTION TO ENTER SCHEDULING ORDER

COMES NOW, the Plaintiffs and hereby moves this Court, to enter a Scheduling

Order and in support of this Motion states:

l. Case CJ-2013-4766 was flled on October 16, 2013. T 0 date no Scheduling

Order has been entered.

2. In order to complete discovery and set a Pretrial Hearing, this Court should

enter a Scheduling Order in this case.

THEREFORE, Plaintiffs requests that this Court enter a Scheduling Order in this

CaSC.

Respectfully submitted,
EDWARDS LA

By:

 

Trevofi. Furlong, OBA #@_(BDS/
P.O. Box 1066

321 South 3rd Street, Suite l
McAlester, Oklahoma 74502
(918) 302-3700 Telephone

(918) 302-3701 Facsimile
Attorneyf)r the Plaintiff

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 37 of 127

 

EXHIBIT 9

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 38 of 127

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MONSI LGGRKE, WH§K _ MWK

Plaintiff,

vs. Case No. CJ-2013-4766

Judge Chappelle
D_FTRIES DEERING, KARA HUGHES,

Vvv`./VV V

 

ORDER SET' I`ING HEARING

jeze anii

Novv ch_hlsa_?[ day of February, 2014, the setting of the hearing on the
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‘__,lam't_ift’s Md{wn to Ente) Scheduliug Order comes on and the Court, being fully
23 :§ ’ / "

advised, tinds:

I'l` IS THEREFORE ORDERED that this matter be scheduled for hearing on

the Q/H(‘;H day of M, 2014, at §§ o’clock, A.m.

ORDERED thjs;_t[__jdfay of February, 2014,

 

JUDGEO T 11 sTRlc'r 0URT

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 39 of 127
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(-_` ..... (; .........

CERTIFICATE OF SERVICE

I hereby certify that on the nw day of February, 2014, that 1 mailed a true and
correct copy of the foregoing document with postage prepaid to the following:

Harry A. Parrish

Franden, Woodard, Farris, Quinllin
& Goodnight

William Center Tower ll

Two West Second St., Suite 900
Tulsa, OK 74103-3101

Demetries Deering
3167 s.130th EPl
Tulsa, OK 74134

Kara Hughes

3167 s. 130"l E P1
Tulsa, OK 74134

T15evmlrloV

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 40 of 127

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EXHIBIT 10

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 41 of 127

 

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Drs'rRIcT enum-
IN THE DISTRICT'¢GUNQIWWD FgRA TULSA Co NT ge E D
sTATE or 01 ii MAR 1 2 ZUM
\_|;'1[_\ l l _ l
MONSI LGGRKE, { h ,r;,]} ('§', ,qb ,1 - )
) sAu.v Howr suer cou
Plainiirr, ) STATE°F °KM-TU fws/iggu°iiv““
)
vs. ) Case No. CJ-2013-4766
) Judge Cllappelle
DEMETRIES DEERING, KARA HUGHES, )
and LlBERTY MUTUAL GRoUP lNC. )

AGREED SCHEDULING ORDER

THIS 0RDER is entered this ;@>‘"7 day er Mé ,2014.

Counsel have discussed with the Court their respective need for adequate discovery time,
complexity of legal issues to be addressed, and their caseload in airiving at this agreed
Scheduling Order.

IT IS SO ORDERED that the following must be completed within the time fixed:

l. ADDITIONAL PARTIES to _be ' joined and AMENDED

 

 

 

 

 

 

PLEADINGS to be l"lled by: April 7 2014
2. Parties shall exchange PRELIMINARY LISTS OF
WITNESSES AND EXHIBITS by: Mav 4. 2014
3. DISCOVERY must be completed by: l“'y 77, 907 4
4. DISPOSITIVE MOTlONS will not be considered
If filed aftcr: Auaust ll, 2014
5. SETTLEMENT CONFERENCE OR MEDIATION
DATE & TIME: August 31, 2014
6. PRE-TRIAL CONFERENCE DATE & TIME: ve 7' 50 O/‘/@ ,‘ ZOA/h
(Jury Fce must be paid by time of prc-trial conference. 28 O.S. See 152.1 (B))
7. TRIAL DATE: Set at Pre-'I`rial
8. ESTIMATED TIME FOR ’l`RlAL: 2 days

 

9. REQUESTED JURY INS'l`RUCT[ONS must be filed by: - 5 days prior to 'l`rial

 

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 42 of 127
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10. PROPOSED FlNDINGS OF FACT AND CONCLUSIONS:

 

 

OF LAW (Non-Jury) must be filed by: _ N/A________ __
ll. TRIAL BRIEF must be filed by: N/A
12. ADDITlONAL ORDERS:

(Non-Jtuy) must be filed by: _ N!.A.~
MEDICAL EXAMINATION OF_ lvlonsi L’ggrke shall be completed

 

no later than Julv 2, 2014

THE MEDICAL EXAMINER shall submit the icpoit to counsel iequesting the
examination, Who shall submit a complete copy to all counsel, no latei than
___1111;1_6___2:911__

No date set by this Order can be changed except for good cause and upon

written Order of this Court.
/ /

JUDGE or '1‘ m 1) "l‘m’cT coun'r

Datcd: ,_j-/¢)’ -L¢/

 

We have presented to the Court our views of time re ui ments established by this

Scheduling Order.
;AW*K'£ r~.i,\.¢‘,v(.,

  

 

 

Trév/or J. Fnrlong, OWOS Harry\/\.~i"arrish, 0BA#11463

The Edwards Law Firm FRANDEN, WOODARD`, FARRIS,
321 South 3"l Street, Suite 1 QUILLIN & GOODNIGHT

F.O. Box 1066 Williams-GenterTower ll
McAlester, Oklahoma 74502 "l`wo West Second Street, Ste. 900
(918) 302~3700 Telephone Tulsa, OK 74103 3101

(918) 302-3701 Facsimile (918) 583~ 7129 Telephone

Altomey for the Plaintiff (918) 584 3814 Facsimile

Allorm_y for rlie Defendant, Liberty
Mulual Group, Inc.

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 43 of 127

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EXHIBIT 11

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 44 of 127

 

_.-.__. D\ . _- .. M . . . . ., -. '_. ...._..
DISTRICT COURT
IN THE DISTRICT COURT IN AND FOR TULSA CEJN*`YL E D
STATE OF OKLAHOMA
APR - 3 2014
MONSI LGGRKE, )) s&i¥ggmwwwg&£wm
Plaintiff, )
)
vs. ) Case No. CJ-2013-4766
) Judge Chappelle
DEMETRIES DEERING, KARA HUGHES, )
and LlBERTY MUTUAL GROUP lNC. )

.AM AGREED sanDULING 0RDER

TH1s oni)ER is entered this 515"' day of MQA ,2014.

Counsel have discussed with the Court their respective need for adequate discovery time,
complexity of legal issues to be addressed, and their caseload in arriving at this agreed
Scheduling Order.

IT IS SO ORDERED that the following must be completed within the time fixed:

l. ADDITIONAI. PARTIES to be joined and AMENDED

 

 

 

PLEADINGS fO be filed by: May7 gil 4

2. Panies shall exchange PREL1M1NARY LisTS oF iv - if
WITNESSES AND EXHIBITS by: :__,z JUIIC 4.£014

3. DISCOVERY must be completed by: y hit@m~_-")H, 7014

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. .

4. DISPOSITIVE MOTlONS will not be considered _;" -..
If filed alien Septemberl l, 2014

5. SETTLEMENT CONFERENCE OR MEDIATION
DATE & 'I`IME: September 30. 2014

6. PRE~TRIAL CONFERENCE DATE & TIME: "
(Jury Fee must be paid by time of pre-trial conference. 28 O.S. Sec 152.1 (B))

 

 

7. TRIAL DATE: Set at Pre-Trial
8. ESTIMATED TIME FOR TRIAL: 2 days
9. REQUESTED JURY INSTRUCTIONS must be filed by: 5 days prior to Trial

 

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Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 45 of 127
_____________ M _ . . . .. _ /Ms)

10. PROPOSED FINDINGS Ol" FAC'l` AND CONCI.USlONS:

Ol" LAW (_Non-Jury) must be filed by: ___ M_A_\ __ u _
11, TRIAL BRlEF must be filed by a_1',/§ _um__
12. ADDlTlONAL ORDERS:

(Non-Jury) must be filed by: .*....NL,'\..__________.,_._
MEDlCAL EXA;\/ilN/\TIGN ()l" §{lonsi |,’ngrke »_ _ shall be completed

 

no later than A__uat__\st_= 2 ._201_4

THl< MLDIC.731L EX/\MINF R shall submit the 1epoit to counsel requesting the

examination who shall submit a complete copy to all counsel no later than
.Ail.g»§t .16_1_,20.1.4 .“_

No date set by this Order can be changed except i`or good cause and upon
written Order 111'1|1is Court.

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We have presented to thc Court our views of time 1'
Scheduling Q,d 1

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moments established by this

 

 

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lhe lidwards l nw l`itm l RANDI:`N, WOODARD, FARRIS,
32| Soutlt_> "d Sheet, Suite 1 QUILL|'N & GOODNIGHT

P O. Box 1066 Willinms Center lower li
McAlester, Oklahoma 71`15\'.`»3 'l wo West Second Street, Ste. 900
(918) 302-3700 Telephone `1`11|sa,(`1l< 7410.3-_`1 101
(918) 302-370| Fz\csimi|e (918) 583-712‘) Telephone
Attomeyfm' l/te P(r11`11¢1`ff (918) 534-38111 l'ucslmiie

.»1lfr)r11ey_/i)1' the Defendant, Liberty
Muma/ Group, Inc.

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 46 of 127

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EXHIBIT 12

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY

sTATE 0F oKLAHoMA
MONSI LGGRKE, )
)
Plaintiff, )
)
vs. ) Case No. CJ-2013-4766
) Judge Chappelle
DEMETRIES DEER!NG, KARA HUGHES, )
and LlBERTY MUTUAL GROUP INc. ) ..DIS'-l-`RICT C§URT

PLAINTIFF’s MoTIoN To AMEND PETITIoN JUN 2 5 2014
To ADD BAD FAm-l cLAIM

COMES NOW Plaintiff, Monsi L’Ggrke, and moves the Court tos%%giim“d£%pga$k$sk
amend his petition. Plaintiff seeks to add a claim of bad faith against the defendant, Liberty
Mutual Group Inc. arising out of their conduct and processing of the claim in the subject motor
vehicle collision. In support of Plaintiff’s motion he provides the Court with the following:

1. This matter concerns a two vehicle collision and Uninsured Motorist claim. The

collision occurred on August l, 2012. The collision occurred in Tulsa,

Oklahoma.

2. Through the Court’s Scheduling Order there Was a deadline for amendments to
pleadings of May 7, 2014,

3. The parties engaged in a mediation on .lune 12, 2014, During that mediation it

was very apparent Liberty Mutual had grossly undervalued and otherwise not
done a fair investigation of the claim o|" Plaintiff Prior to that day there was not
an offer or other discussion between thc parties as to a valuation placed on the

claim by Liberty Mutual.

 

 

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4. Through the discovery in this case Plaintiff believes Defendant has breached its
duty to deal fairly and in good faith in the handling of his underinsured motorist
claim.

5. For the sake of judicial economy Plainli Ft" should be allowed to add any and all
claims he has against all Defendants for the motor vehicle collision ofAugust l,
2012 in one case.

6. Discovery is currently ongoing in this case.

7. Pursuant to 12 OS §2015(A) this Court should permit plaintiff to amend his
petition when justice so requires.

8. Plaintiff believes Liberty Mutual Group Inc. would not be prejudiced in any Way
if he was allowed to add the causes of action listed above.

9. Plaintiff contacted Defendant about this motion. They object to the proposed

amendments to Plaintiff’s Petition.
WHEREFORE, Plaintiff requests leave of Court to amend his Petition to add causes of action

against the Defendant as described above along with all other appropriate relief.

Respectt`ul| y tted,

TrevoH. FLMA #20208
The Edwards Law Firm

321 S. 'l`hird Street, Suite l
P.O. Box 1066

McAlester, OK 74502

(918) 302-3700 - Telephone
(918) 302~3701 - Facsimi]e
Altorney.\'_p)r Plaintiff

   

 

 

 

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 49 of 127

CERTIFICATE OI<` MAILING
I hereby certify that on the iswday of June 2014, a true and correct copy of the above
and foregoing document was mailed with proper postage fully prepaid thereon, to the following:

Harry Parrish

Williams Center Tower II

Two West 2nd Street

Suite 900

Tulsa, OK 74103

Attorney for Defendant Liberty Mutual

 

 

Tl-evor J. FurloiV

 

 

 

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 50 of 127

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EXHIBIT 13

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/W)

IN THE DISTRICT COURT OF TULSA COUNTY
STATE OF OKLAHOMA

MONSI LGGRKE,
Plaintifr§
V .

DEMETRIES DEERING, KARA

HUGHES, and LlBERTY MUTUAL ~

GROUP lNC.

Defendants

)

)

)

)

) Case No. C]~2013-4766
) Honomble Carlos Chapelle
)

)

)

)

)

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JUL 1 4 ZUM

ENTRY OP APPEARANCE mm HOWE SM"H' Cgum oLERK

STATE QF OK|;A; TULSA COUNTY

~Lindy H. Collins, of the law firm Newton, O’Connor, Turner & Ketchum, PC,

hereby enters her appearance on behalf of the Defendant, Liberty Mutual Group, Inc., in

the above captioned cause.

Respectfully submitted,

Andii@iUu/\/

Lin‘t( y H. Collin, OBA No. 30579

NBwToN, O’ Co Non, TURNER 8c KETcHuM, P.C.
15 West Sixth Street, Suite 2700

Tulsa, Oklahoma 74119

Telephone: (918) 587-0101

Facsimile: (918) 587-0102

ATTORNEYS FOR DEFENDANT,
LlBERTY MUTUAL GROUP, INC.

 

Case 4:14-cv-OO551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 52 of 127

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CERTIFICATE OF SERVICE

I hereby certify that on the 14th day of ]uly, 2014, a true and correct copy of the
forgoing was delivered via U. S. Mail, postage prepaid, to:

TreVor ]. Furlong

THE EDWARDS LAW FIRM
321 S. Third Street, Suite 1
P.O. Box 1066

McAlester, OI< 74502

ATTORNEYS FOR FLAINTIFPS

Harry Parrish

FRANDEN, WooDARD, FARRIS, QUrLLIN & GooDNIGHT
Williams Center Tower II

Two West 2r\d Street, Suite 900

Tulsa, OK 74103

ATTORNEYS FOR DEFENDANT LlBERTY MUTUAL GROUP, INC.

- Wiaiw@tw/

Lindy H) C<Uins

 

Case 4:14-Cv-OO551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 53 of 127

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EXHIBIT 14

Case 4:14-cv-OO551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 54 of 127

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IN THE DISTRICT COURT OF TULSA COUNTY

STATE OF OKLAHOMA
MONSI LGGRKE, )
)
Plaintiff, ) '
)
V. ) Case No. C]-2013-4766
) Honorable Carlos Chapelle
DEMETRIES DEERING, KARA ) T
HUGHES, and LIBERTY MUTUAL ) DISTRICT CGUR_
GROUP INC. ) § §
)
Defendants. ) JUL 1 4 mm
ENTRY or APPEARANCE W§§Mt§§xuwik

William W. O'Connor, of the law firm Newton, O'Connor, Turner & Ketchurn,
PC, hereby enters his appearance on behalf of the Defendant, Liberty Mutual Group,

Inc., in the above captioned cause.

Respectfully submitted,

william w. o'Connor, OBA No. 13200
NEwToN, O’CONNOR, TURNER &; KETCHUM, P.C.
15 West Sixth Street, Suite 2700

Tulsa, Oklahoma 74119

Telephone: (918)_587-0101

Facsimile: (918) 587-01_02

ATTORNEYS FOR DEFENDANT,
LIBERTY MUTUAL GROUP, INC.

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 55 of 127

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CERTIFICATE OF SERVICE

I hereby certify that on the 14th day of July, 2014, a true and correct copy of the
forgoing Was delivered via U.S. Mail, postage prepaid, to:

Trevor ]. Furlong

THE EDWARDS LAW PIRM
321 S. Third Street, Suite 1
P.o. B'ox 1066

McAlester, OK 74502

ATTORNEYS FOR PLAINTIFFS

Harry Parrish

FRANDEN, WooDARD, FARRIS, QUILLIN & GOODNIGHT
Williams Center Tower II

Two West 2nd Street, Suite 900

Tulsa, OK 74103

ATTORNEYS FOR DEFENDANT LlBERTY MUTUAL GROUP, INC.

laid/03 D`é@~\

William W. O'Connor

 

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 56 of 127

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EXHIBIT 15

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 57 of 127

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IN THE DISTRICT COURT OF TULSA COUNTY

   

sTATE or oI<LAHOMA §§13`RIC'1` COURT
MONSI LGGRKE, `
§ Jui 14 2014
Plaintiff ) "
SN.LY HOWE SMlTH. COURT CLERK
) smrecrom. nusAcouNw
v. ) Case No. C]-2013-4766
) Honorable Carlos Chapelle
DEMETRIES DEERING, KARA )
HUGHES, and 'LIBERTY MUTUAL )
GROUP lNC. )
)
Defendants. )

DEFENDANT LlBERTY MUTUAL GROUP, INC.’S RESPONSE AND OB]`ECTION
TO PLAINTIFF’S MOTION TO AMEND PETITION

Defendant Liberty Mutual Group, Inc. (”Liberty Mutual”) respectfully requests
that the Court deny the Motion to Amend Petition of Plaintiff Monsi L’Ggrke

(”Plaintiff”), filed ]une 25, 2014. ln support of this Response, Liberty Mutual states the

following:

1. Plaintiff filed a lawsuit against Liberty Mutual on October 16, 2013,
alleging that Liberty Mutual is liable to Plaintiff for underinsured motorist benefits

resulting from a motor vehicle accident on August 1, 2012.

2. Plaintiff has failed to prosecute his claim since the filing of the Petition.

Indeed, Plaintiff Waited until ]une 18, 2014 to serve discovery on Liberty Mutual.

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 58 of 127

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3. v The current scheduling order required the parties to amend the pleadings
on or before May 7, 2014, Nonetheless, Plaintiff filed a Motion to Amend Petition to~
Add Bad Faith Claim on ]une 25, 2014,

4. Plaintiff has inexcusany failed to prosecute his claims and comply with
the scheduling order, and Liberty Mutual respectfully submits that it should not be
permitted to add new claims to the pending lawsuit at this time,

5. Plaintiff’s confusing Motion states that, ”[t]hrough discovery in this case,”
Liberty Mutual failed to deal fairly and in good faith in the handling of Plaintiff’s
underinsured motorist claim. To the extent that Liberty Mutual has not yet responded
to Plaintiff’s first set of discovery, Plaintiff’s basis for the belated request to amend the
Petition is meritless and illogical

6. Significantly, the litigation conduct of a Defendant may not serve as
evidence of bad faith under Oklahoma law. The Oklahoma state and federal courts
have ”refused to recognize a bad faith claim against an insurer based solely on an

. insurance company’s alleged post-litigation conduct of disputing an insured's damages
. . . Rather, after a lawsuit is pending, to hold an insurer's acceptable litigation tactics as
evidence of bad faith would be to deny the insurer a complete defense. To date, the

courts have uniformly rejected the argument that an insurer can be guilty of bad faith
for simply defending itself in a coverage litigation and taking advantage, even zealously

so, of every right afforded under applicable state and federal discovery rules.” Andres

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 59 of 127

v. Okla. Parm Bureau Mut. Ins. Co., 2012 OK CIV APP 93, ‘j[ 13, 290 P.3d 15, 2012 Okla.

Civ. App. LEXIS 77 (Okla. Ct. App. 2012). Accordingly, Plaintiff’s proposed new claim

of bad faith discovery conduct Would fail. As such, Plaintiff’s request to amend the

Petition to add such a claim should be denied.

For the above and foregoing reasons, Defendant Liberty Mutual Group, Inc.

respectfully requests that the Court deny Plaintiff’s Motion to Amend Petition to Add

Bad Faith Clairr\.

Respectfully submitted,

/9§//////@;?%/2{/{

Lindy H. ?Tns, oBA No. 30579

NEWTO ’C oNNoR,TURNBR &KETCHuM,P.C.
15 West Sixth Street, Suite 2700

Tulsa, Oklahoma 74119

Telephone (918) 587-0101

Facsimile: (918) 587-0102

ATTORNEYS FOR DEFENDANT,
LlBERTY MUTUAL GROUP, INC.

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 60 of 127
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CERTIFICATE OF SERVICE

I hereby certify that on the 14th day of ]uly, 2014, a true and correct copy of the
forgoing was delivered via U.S. Mail, postage prepaid, to:

Trevor ]. Furlong

THE EDWARDS LAW FIRM
321 S. Third Street, Suite 1
P.O. BOX 1066

McAlester, OK 74502

ATTORNEYS FOR PLAINTIFFS

Harry Parrish

FRANDEN, WooDARD} FARRIS, QuiLLiN & GooDNicHT
Williams Center Tower II'

Two West an Street, Suite 900

Tulsa, OI< 74103

ATTORNEYS FOR DEFENDANT LlBERTY MUTUAL GROUP, INC.

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Li€dy H. Co ms

 

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 61 of 127

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EXHIBIT 16

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
STATE OF OKLAHOMA

MONSI LGGRKE,
Plaintiff,

Case No. CJ-2013-4766
Judge Chappelle

VS.

)
)
)
)
§
DEMETRIES DEERING, KARA HUGHES, )
and LlBERTY MUTUAL GROUP lNC. )

APPLICATION TO WITHDRAW AS COUNSEL OF RECORD
Harry A. Parrish of Franden, Woodard, Farris, Quillin & Goodnight, counsel of record
for Defendant Liberty Mutual Group, Inc., respectfully requests that the Court allow him to
withdraw as attorney for said Defendant for the reason that the firm of Newton, O’Connor,

Turner & Ketchum, P.C. has been retained to represent Liberty Mutual Group, Inc. in this matter.

Respectfully submitted,

By M£H.wwc

Harry A_Ral'rish, oeA #11463

FRANDEN, WooDARD, FARRIS, ~
QUILLIN & GooDNiGHT

Williams Center Tower II

Two West Second St., Suite 900

Tulsa, OK 74103-3101

918/583~7129

FAX 918/584-3814

Aitorney for Defendant

Liberty Mutual Group Inc.

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 63 of 127
re en

CERTIFICATE OF SERVICE

I hereby certify that on the 18"‘ day of July, 2014, a true and correct copy of the above
and foregoing was mailed, properly addressed and postage fully prepaid to:

Mark L. Edwards

The Edwards Law Firm
P.O. Box 1066
McAlester, OK 74848
Altorneyfor Plaintiff

William W. O’Connor
Lindy H. Collins
Newton, O’Connor, Turner,
& Ketchum, P.C.
15 West Sixth Street, Suite 2700
Tulsa, OK 74119
Altomeys for Liberly Mutual
Group, Inc.

Harry wrish

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 64 of 127

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EXHIBIT 17

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IN THE DISTRICT COURT lN AND FOR TULSA COUNTY

sTA'rE 0F oKLAHoMA
MONSI LGGRKE, ) DISTRICT cover
Plaintiff § ' § L _ D
vs. § Case No. CJ-2013-4766 J-UL 2 .1 3014
DEMETRIES DEERING KARA HUGHES )) Judge Chappene nglm
and LlBERTY MUTUAL’ GROUP lNC. ’ ) cowade

ORDER ALLOWING WITHDRAWAL OF COUNSEL
Upon application of Harry A. Parrish of the law firm of Franden, Woodard, Farris,
Quillin & Goodnight, requesting that this Court enter an order allowing him to withdraw as
counsel of record for the Defendant Liberty Mutual Group, Inc., and as the law firm of Newton,
O’:Connoi‘,' "I`_urner' & Ketchum, P.C. has entered an appearance to represent Liberty Mutual
Ciroup,:_liic._in"the above-_styled_and numbered cause of action, and for good cause shown,
t lT IS‘I'-IEREBi-f‘ ORDERED that Harry A. Parrish is hereby granted leave to withdraw
as counsel of record for Defendant Liberty Mutual Group, Inc.

Dated: \"_7 ’/Qi '“' 1 L') 5 J, CHAPPELLE

casto

JUDGE OF THE DISTRICT COURT

 

Submitted by:

Harry A. Pan'ish, OBA #11463

FRANDEN, WOODARD, FARRis,
QU1L1,1N & GooDNloH'r

_'I_'wo 1West Second St., Suite 900

Tulsa, OK 74103-3101 `

.91,8/583..\-7129._.._. _.

At'tomeyfo)" Defendant '

Liberty Mutual Group Inc.

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 66 of 127

 

EXHIBIT 18

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 67 of 127
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DISTRICT COURT

IN THE DISTRICT couRT oF TULSA coUNTYJUL 2 8 1914

STATE OF OKLAHOMA

am 111128 is a if Y“°WES“"“ °°“'éliiiv““

sure 0F oKLA WLSA
ORDER

   
 

' 2014, the following m' -rs in the designated case on

for decision, pursuant to the ru es of e District Court for T uls County, The Clerk of the Court
is directed to notify counsel of record of the indicated decisio by mailing a copy of this Order to
them and to file a copy of this order in this case.

cARLos JWPELLE, DISTRICT JUDGE

CJ-2013-4766 MONSI LGGRKE, PLA|NT|FF vs. DEMETRiES DEER|NG, KARA
HUGHES, and L|BERTY MUTUAL GROUP, lNC., DEFENDANTS.

 

PLA|NT|FF'S MOTION TO AMEND PET|T|ON TO ADD BAD FA|TH CLA||V| F|LED 06-
25-14 |S GRANTED. PLA|NT|FF SHALL HAVE 20 DAYS FROM THE DATE OF TH|S
ORDER TO F|LE AN AMENDED PET|T|ON, AND DEFENDANT L|BERTY MUTUAL
GROUPl lNC., SHALL HAVE 20 DAYS THEREAFTER TO F|LE AN ANSWER TO THE
AMENDED PET|T|ON.

COUNSEL FOR PLA|NT|FF TO PREPARE ORDER.

NOT|CE TOS TREVOR FURLONG, P O BOX 1066, l\/|CALESTER, OK 74502;
HARRY PARR|SH, VVlLL|Al\/lS CENTER TOWER |l, 2 WEST 2ND ST,
STE 900, TULSA, OK 74103;

AFFIDAVIT OF MAILING
I, Sally Howe Smith, Court Clerk of Tulsa County, hereby certify that on theGZZ 7 day of
ga jt , 2014 a true and correct copy of the foregoing Order was mailed to each of the
attorney isted above and a true and correct copy of the foregoing order was filed in each of the
above oregoing cases.
SALLY HOWE SMITH, Court Clerk

 
     

Betty Stew d, Deputy Clerk

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EXHIBIT 19

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DISTRICT count
IN THE DISTRICT coUnT or TULSA coUNTY F § im ii iii

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srATE or oI<LAHoMA _
' AUG - 6 2014
MONSI LGGRKE, )
SAL ' ~ `, .
) sriiiggi'i)ft"ii.riui§i':i;&"iii"‘
Plaintiff, )
)
v. ) Case No. C]-2013-4766[`
) Honorable Carlos Chappelle
DEMETRIES DEERING, KARA )
HUGHES, and LIBERTY MUTUAL )
GROUP lNC. )
)
Defendants. )

MOTION TO EXTEND EXISTING SCHEDULING ORDER DEADLINES

Defendant Liberty Mutual Group ("Liberty Mutual"),' respectfully moves the
Court for an extension of the existing scheduling order deadlines by ninety (90) days.
Liberty Mutual attaches a Second Agreed Amended Scheduling Order, Exhibit A,
containing the new deadlines In support of this Motion, Liberty Mutual states as
follows:

1. On April 3, 2014, the Court entered the Amended Agreed Scheduling
Order.

2. Since the Court`s entry of the Amended Agreed Scheduling Order,
Plaintiff filed a Motion to Amend Petition to Add Bad Faith Clairn ("Plaintiff‘s Motion").
On ]uly 28, 2104,' the Court granted Plaintiff’s Motion, ordered Plaintiff to file his
amended petition within twenty (20) days! and ordered Defendant Liberty Mutual

Group to file its Answer within twenty (20) days thereafter. As a result, the parties

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require additional time for discovery related to the bad faith claim.
‘ 3. Liberty Mutual respectfully submits that a ninety (90) day continuance of
the scheduling order deadlines is necessary.
4. Plaintiff does not object to the requested extensionl Plaintiff has agreed to
the proposed dates and signed the Second Agreed Amended Scheduling Order

attached as Exhibit A.

5., _ Liberty Mutual respectfully requests that all remaining deadlines in the
current Amended Agreed Scheduling Order be extended by ninety (90) days, as set
forth in the Exhibit A.

6. This extension is not sought for purposes of delay, but instead to allow

adequate time for discovery.

CONCLUSION
Defendant,‘Liberty'Mutual Group, respectfully requests that the Court grant this
]oint Motion and enter the Second Agreed Amended Scheduling Order, attached hereto

as Ex`hibit A.

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Respectfully submitted,

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ii//daa id g Mar/allred
William W. O'Connor, OBA No. 13200
Lindy H. Collins, OBA No. 30579
NEWTON, O'CONNOR, TURNER & KETCHUM, P.C.
15 West Sixth Street, Suite 2700
Tulsa, Oklahoma 74119
Telephone: (918) 587-0101
Facsimile: (918) 587-0102

ATTORNEYS POR DEFENDANT,
' LIBERTY MUTUAL GROUP, INC.

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CERTIFICATE OF SERVICE

l hereby certify that on the 6th clay of August, 2014, a true and correct copy of the
forgoing was delivered via U.S. Mail, postage prepaid, to:

Trevor ]. Purlong

THE EDWARDS LAW FIRM
321 S. Third Street, Suite 1
P.O. Box 1066

McAlester, OK 74502

ATTORNEYS FOR PLAINTIFFS

William W. O‘Connor

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IN THE DISTRICT COURT OP TULSA COUNTY

STATE OF OKLAHOMA
MONSI LGGRKE, )
) .
-Piainuff, )
) .
v. )_ Case No. CI~2013-4766
- _ ) Honorable Carlos Chapp_elle
DEMETRIES DEERING, KARA )
HUGHES, and LIBBRTY MUTUAL )
GROUP'INC. )
).
Defendants )

SECOND AGREED AMENDED SCHEDULING ORDER

 

This Order is entered this day of August, 2014.

` Counsel have discussed with the Court their respective need for adequate discovery
time, complexity of legal issues to be addressed, and their caseload in arriving at this
agreed_Scheduling Order.

I'Ij'IS- 80 ORDERED that the following must be completed'within the time fixed:

1. Parties shall exchange PRELIMINARY LISTS OF WITNESSES AND

EXHIBI'I`S by: Se temb r 2 14
2. DISCOVERY must be completed by: ~ November 25c 2014

_3., DISPOSITIVE MOTlONS will not be considered if filed after: December 10
2014

 

4. SETI'LEMENT CONPERENCE OR MEDIA'I'ION to be completed by: _
December 2 2104

5.' PRETRIAL CONFERENCE DATE & TIME. _____ _____
(Jury Fee must be paid by time of pre-trial conference, 28 O. S. § 152-. 1 (B))

6. TRIAL DATE: t = ` `xHElBl-T ' To be set at pretrial

 

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7. EsnMATED T_ME POR TRIAL: 1 week . _
s. REQUESTED tony msTRUC_noNs must be filed by: 5 days prigr to diai

9. PROROSED FINDING OF FACT AND CONCLUSIONS OF LAW'(Non-]ury)

must be filed byé ~ ' _ n@______
10'."'I"ria1 `Brief must be filed by: _ L____g

1-1.~ADD1110NAL ORDER's=
(Non-]ury) must be field by: . n[a

MEDICAL EXAMINATION OF Monsi L'Ggrl<e shall be completed no later than:
October 31 2014, ‘

 

THE MEDICAL BXAMINER shall submit the report to counsel requesting the
examination who shall submit a complete copy to all counsel, no later than:

November 14l 2014

No date set by this Order can be changed except for good cause on written
Order of this Court. `

 

Carlos Chappelle
District Judge

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We have presented to the Court our views of time requirements established by this
Scheduling Order. l

Trevo_r ]. Furlong, OBA No. 2-0208
THE EDwARos LAW Pn`zM _

321 S._ Third Street, Suite 1

P.O. Box 1066

McAlester, OK 74502

  

 

ATToRNE¥ ron PLAINTIFP

William W,.Q'Connor, OBA No. 13200
NEw,roN, O'CONNOR, TURNER & KErcHuM, P.C.

15 West Sixth Street, Suite 2700
Tulsa, Oklahoma 74119

y ATTORNEY-FOR LlBERTY MUTUAL GROUP

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EXHIBIT 20

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lN THE DISTRICT COURT lN AND FoR TULSA coUNTY FDIS'TRICT 00

 

   

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AUG _
MONSI LGGRKE ) 6 2014
) SALLYHQW
Plaintiff, ) mma£,§,”'"'» collar
) MBA¢°U€{LETVRK
- vs - ) case Na. cJ-2013-4766
)
DEMETRIES DEERING, KARA HuGHEs ) Honarable carlos chapelle
And LlBERTY MUTUAL GRouP lNC. )
)
Defendants )

FIRST AMENDED PETITION

COMES NOW, the Plaintiff by and through his attorneys of record, Mark L. Edwards
and Trevor J. Furlong, and for his cause of action against the Defendants, Demetries Deering,
Kara Hughes and Liberty Mutual Group Inc., alleges and states as follows:

l. That the Plaintiff, Monsi L’Ggrke is a resident of the city of Tulsa, in Tulsa
County, Oklahoma

2. That the Defendant, Demetries Deering, is a resident of the city of Tulsa, in Tulsa
County, Oklahoma.

3. That the Defendant, Kara Hughes, is a resident of the city of Tulsa, in Tulsa

County, Oklahoma,

4. That the Defendant Liberty Mutual Group Inc., is the Plaintift’ s uninsured/
underinsured motorist canier, at the time of the collision. 'l`herefore, Plaintiff brings this action

against Liberty Mutual Group Inc. to establish his rights to the underinsured motog`,st c<§erage.
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5. That the accident which gives rise to this action occurred on Sti§usté 2012 in
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Tulsa County, oklahoma §§ '
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6. That this Court has jurisdiction and venue in this matter.

7. That the Plaintiff was without fault and that the damages from the accident were
directly and proximately caused by and due to the negligence of the Defendant, Demetries
Deering and Kara Hughes as set forth below.

8. That on or about August 1, 2012 Plaintiff was a passenger in a vehicle that was
stopped at a red light on E. 7131 street in the westbound left turn lane on South Wheeling Avenue.
Plaintiff was waiting to turn left when he was struck from behind by Demetries Deering.

9. That Plaintiff, Monsi L’Ggrke sustained serious injuries to his neck as a result of
the motor vehicle collision.

10. Those neck injuries required surgery.

ll. Plaintiff continually requested Defendant, Liberty Mutual Group Inc., approve
payment of the necessary medical treatment for his neck injury.

12. Defendant, Liberty Mutual Group Inc., continually failed to respond to Plaintiff’s
requests.

13. Multiple physicians’ offices contacted Defendant, Liberty Mutual Group Inc.,
advising them of the necessity of the medical treatment of Plaintin Each time Liberty Mutual
either denied the service or failed to respond.

14. Plaintiff presented his claim to Defendant, Liberty Mutual Group Inc. They
evaluated the claim well below the document medical expenses without any good faith basis to
do so.

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15. That Defendant, Demetries Deering, was negligent in striking the back of the

 

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vehicle containing Plaintiff.

16. That as a result of that negligence Plaintiff was injured and has suffered damages.

17. That Plaintiff’s damages include, but are not limited to past and future physical
pain and suffering, past and future mental anguish, medical expenses and permanent injury.

18. Wherefore, Plaintiff prays for a judgment against Defendant, Demetries Deering,
in an amount in excess of $75,000.00, his costs, and other relief to which he may be entitled.

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19. That Defendant, Kara Hughes, was the owner of the vehicle driven by Defendant
Demetries Deering when the aforementioned wreck occurred.

20. That Defendant, Kara Hughes, negligently entrusted her vehicle to Defendant
Demetries Deering,

21. That as a result of that negligent entrustment Plaintiff was injured and has
suffered damages.

22. That Plaintiff’s damages include, but are not limited to past and future physical
pain and suffering, past and future mental anguish, medical expenses and permanent injury.

23. Wherefore, Plaintiff prays for a judgment against Defendant, Kara Hughes, in an
amount in excess of $75,000.00, his costs, and other relief to which he may be entitled.

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24. That Defendant, Liberty Mutual Group Inc., insured the Plaintiff Monsi L’Ggrke
with an automobile policy that provided uninsured/underinsured motorist coverage.

25. That Defendant’s Demetries Deering and Kara Hughes were at the time of the

aforementioned collision, uninsured or underinsured as defined in Plaintist policy with

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Defendant Liberty Mutual Group Inc.

26. That due to the nature and extent of Plaintiff’s injuries, Defendant Liberty Mutual
Group Inc., is bound to pay Plaintiff the limits of said policy, or $500,000.00.

27. Wherefore, Plaintiff prays for a judgment against Defendant Liberty Mutual
Group Inc. in an amount in excess of $75,000.00, his costs, and other relief to which he may be
entitled.

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28. That Defendant, Liberty Mutual Group Inc. had a contract to pay
uninsured/underinsured motorist benefits to its insured and those occupants of the vehicle
covered by Defendant, Liberty Mutual Group Inc.

29. Plaintiff is the spouse and occupant of the a vehicle insured by Defendant, Liberty
Mutual Group Inc.

30. Defendant, Liberty Mutual Group Inc., has breached its contract with Plaintiff,
Monsi L’Ggrke by failing to timely pay his claim.

31. Defendant, Liberty Mutual Group Inc., has breached its contract with Plaintiff,
Monsi L’Ggrke by failing to properly investigate the claim of Plaintiff.

32. Defendant, Liberty Mutual Group Inc., has breached its contract with Plaintiff,
Monsi L’Ggrke in other was to be determined through discovery.

33. Wherefore, Plaintiff prays for a judgment against Defendant, Liberty Mutual
Group Inc., in an amount in excess of $75,000.00, his costs, and other relief to which he may be

entitled.

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COUNT V

34. That Defendant, Liberty Mutual Group Inc., had a duty to act in good faith when
dealing with Plaintiff’s underinsured/uninsured motorist claim.

35. That the claim made by Plaintiff on the policy of Liberty Mutual Group, Inc. is a
valid claim under the above mentioned insurance policy.

36. Defendant, Liberty Mutual Group, Inc., is required to pay under its policy.

37. Defendant, Liberty Mutual Group, lnc., did not perform a proper investigation.

38. Defendant, Liberty Mutual Group, Inc., did not act properly on the results of their
investigation

39. Defendant, Liberty Mutual Group, Inc., did not properly evaluate the results of its
investigation properly.

40. The amount offered on the claim of Plaintiff by Defendant, Liberty Mutual Group
Inc., to satisfy the claim was unreasonably low.

_ 4l. Defendant, Liberty Mutual Group, Inc., did not fairly and in good faith deal with

Plaintiff.

42. The violation by Defendant, Liberty Mutual Group, Inc., of its duty of good faith
and fair dealing was the direct cause of the injury sustained by Plaintiff.

43. Wherefore, Plaintiff prays for a judgment against Defendant Liberty Mutual Group
Inc. in an amount in excess of $75,000.00, his costs, and other relief to which he may be entitled.

JURY TRIAL DEMAND RESERVED
ATTORNEY LIEN CLAlMED

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. . ,m____._._.,, M

Respectfully submitted,

TI'[E EDWARDS LAW FIRM

 

Mark L. Edwards,{oBA # 16570
Trevor J. Furlong, OBA#20208
The Edwards Law Firm

P.O. Box 1066

McAlester, OK. 74848

(918) 302-3700

(918) 302-3701

ATTORNEY FOR PLAINTIFF

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EXHIBIT 21

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IN THE DISTRICT COURT OF TULSA COUNTY ii COURT
STATE OF OKLAHOMA § §
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MONSI LGGRKE, )
_ _ sap/okla r ¢'qcift/,p,cl
Plaintiff, ) 404th F”/r
)
v. ) Case No. C]-2013-4766
) Honomble Carlos Chappelle
DEMETRIES DEERING, KARA )
HUGHES, and LlBERTY MUTUAL )
GROUP INC. )
)
Defendants )

SECOND AGREED AMENDED SCHEDULING ORDER

This Order is entered this Z"'h day of August, 2014.
Counsel have discussed with the Court their respective need for adequate discovery
time, complexity of legal issues to be addressed, and their caseload in arriving at this
agreed Scheduling Order.
IT IS SO ORDERED that the following must be completed within the time fixed:

1. Parties Shall exchange PRELIMINARY LISTS OF WITNESSES AND

 

EXHIBITS by: September 2l 2014
2, DISCOVERY must be completed by: November 25 2014

3. DISPOSITIVE MOTlONS will not be considered if filed after: December 10
2014

 

4. SE'[TLEMENT CONFERENCE OR MEDIATION to be completed by:
December 29 2104

 

5. PRETRIAL CONFERENCE DATE a TIME: Ee.é.;am/_.S'_QL§o/’m
(Jury Fee must be paid by time of pre-trial conference, 28 O.S. § 152.1 (B))

6. TRIAL DATE: To be set at p_retlial

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 85 of 127

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7. ESTIMATED TIME FOR TRIAL: 1 week .
8. REQUESTED ]URY INSTRUCTIONS must be filed by: 5 days prior to trial

9. PROPOSED FINDING OF FACT AND CONCLUSIONS OF LAW (Non-]ury)

must be filed by: BL¥__
10. Trial Brief must be filed by: ' Mé___

11. ADDITIONAL ORDERS:
(Non-]ury) must be field by: I_\[€\_____

MEDICAL EXAMINATION OF Monsi L’Ggrke shall be completed no later than:
October 31 2014.

 

THE MEDICAL EXAMINBR shall submit the report to counsel requesting the
examination who shall submit a complete copy to all counsel, no later than:
November 14 2014

 

No date set by this Order can be changed except for good cause on written
Order of this Court.

/

Carlos Cha pell
District ]u ge

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We have presented to the Court our views of time requirements established by this
Scheduling Order.

 

 

Trevor ]. Furlong, OBA No. 20208
THE EDWARDS LAW FIRM

321 S. Third Street, Suite 1

P.O. Box 1066

McAlester, OK 74502

ATTORNEY FOR PLAIN'I`IFF

William W. O'Connor, OBA No. 13200
NEwroN, O'CoNNoR, TuRNER & I<E'rc:HuM, P.C.
15 West Sixth Street, Suite 2700

Tulsa, Oklahoma 74119

ATTORNEY POR LlBERTY MUTUAL GROUP

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EXHIBIT 22

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DISTRICT COURT

IN THE DISTRICT COURT IN AND FOR TULSA COlFT\i L E D

srAri~: or 0KLAH0MA SEP 2 _ 2014
MONSI LGGRKE ) SALLY HOWE SM|T|"|, CU)BT €LEN(
) srArEoFoMmsAooum
Plaintiff, )
)
- vs - ) Case No. CJ-2013»4766
)
DEMErRies DEERING, KARA HUGHES ) Honorabie carios chapene
And LM G‘éi\isi§§tp_ rNsURANcE )
coMPANi§ 3,§1*11)
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SECOND AMENDED PETITION

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CO§ES filiOW, the Plaintiff by and through his attorneys of record, Mark L. Edwards
and Trevor J. Furlong, and for his cause of action against the Defendants, Demetries Deering,
Kara Hughes and LM General Insurance Company, alleges and states as follows:

l. That the Plaintiff, Monsi L’Ggrke is a resident of the city of Tulsa, in Tulsa
County, Oklahoma.

2. That the Defendant, Demetries Deering, is a resident of the city of Tulsa, in Tulsa
County, Oklahoma,

3. That the Defendant, Kara Hughes, is a resident of the city of Tulsa, in Tulsa
County, Oklahoma.

4. That the Defendant LM General insurance Company, is the PlaintiH‘s uninsured/
underinsured motorist carrier, at the time of the collision. Therefore, Plaintiff brings this action

against LM General Insurance Company to establish his rights to the underinsured motorist

coverage.

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(“"` 1 ”‘
5. That the accident which gives rise to this action occurred on August 1, 2012 in
Tulsa County, Oklahoma,
6. That this Court has jurisdiction and venue in this matter.

7. That the Plaintiff was without fault and that the damages from the accident were
directly and proximately caused by and due to the negligence of the Defendant, Demetries
Deering and Kara Hughes as set forth below.

8. That on or about August l, 2012 Plaintiff was a passenger in a vehicle that was
stopped at a red light on E. 71st street in the westbound left turn lane on South Wheeling Avenue.
Plaintiff was waiting to turn left when he was struck from behind by Demetries Deering.

9. That Plaintiff, Monsi L’Ggrke sustained serious injuries to his neck as a result of
the motor vehicle collision.

10. Those neck injuries required surgery.

ll. Plaintiff continually requested Defendant, LM General Insurance Company
approve payment of the necessary medical treatment for his neck injury.

12. Defendant, LM General Insurance Company, continually failed to respond to
Plaintiff s requests.

13. Multiple physicians’ offices contacted Defendant, LM General Insurance
Company, advising them of the necessity of the medical treatment of Plaintiff. Each time LM
General Insurance Company either denied the service or failed to respond.

14. Plaintiff presented his claim to Defendant, LM General Insurance Company,

They evaluated the claim well below the document medical expenses without any good faith

basis to do so.

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COUNT I

15. That Defendant, Demetries Deering, was negligent in striking the back of the
vehicle containing Plaintiff.

16. That as a result of that negligence Plaintiff was injured and has suffered damages

17. That Plaintiff’s damages include, but are not limited to past and future physical
pain and suffering, past and future mental anguish, medical expenses and permanent injury.

18. Wherefore, Plaintiff prays for a judgment against Defendant, Demetries Deering,
in an amount in excess of $75,000.00, his costs, and other relief to which he may be entitled.

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19. 'l`hat Defendant, Kara Hughes, was the owner of the vehicle driven by Defendant
Demetries Deering when the aforementioned wreck occurred.

20. That Defendant, Kara Hughes, negligently entrusted her vehicle to Defendant
Demetries Deering.

21. That as a result of that negligent entrustment Plaintiff was injured and has
suffered damages.

22. That Plaintiff’s damages include, but are not limited to past and future physical

y pain and suffering, past and future mental anguish, medical expenses and permanent injury.

23. Wherefore, Plaintiff prays for a judgment against Defendant, Kara Hughes, in an

amount in excess of $75,000.00, his costs, and other relief to which he may be entitled.
COUNT III
24. That Defendant, LM General Insurance Company, insured the Plaintiff Monsi

L’Ggrke with an automobile policy that provided uninsured/underinsured motorist coverage.

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25. That Defendant’s Demetries Deering and Kara Hughes were at the time of the
aforementioned collision, uninsured or underinsured as defined in Plaintiff’s policy with
Defendant, LM General Insurance Company.

26. That due to the nature and extent of Plaintiff s injuries, Defendant, LM General
Insurance Company, is bound to pay Plaintiff the limits of said policy, or $500,000.00.

27. Wherefore, Plaintiff prays for a judgment against Defendant, LM General
Insurance Company in an amount in excess of $75,000.00, his costs, and other relief to which he
may be entitled.

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28. That Defendant, LM General Insurance Company, had a contract to pay
uninsured/underinsured motorist benefits to its insured and those occupants of the vehicle
covered by Defendant, LM General Insurance Company.

29. Plaintiff is the spouse and occupant of the a vehicle insured by Defendant, LM
General Insurance Company.

30. Defendant, LM General Insurance Company, has breached its contract with
Plaintiff, Monsi L’Ggrke by failing to timely pay his claim.

31. Defendant, LM General Insurance Company, has breached its contract with
Plaintiff, Monsi L’Ggrke by failing to properly investigate the claim of Plaintiff.

32. Defendant, LM General Insurance Company, has breached its contract with
Plaintiff, Monsi L’Ggrke in other was to be determined through discovery.

33. Wherefore, Plaintiff prays for a judgment against Defendant, LM General

Insurance Company, in an amount in excess of $75,000.00, his costs, and other relief to which he

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may be entitled.

COUNT V

34. That Defendant, LM General Insurance Company, had a duty to act in good faith
when dealing with Plaintiff s underinsured/uninsured motorist claim.

35. That the claim made by Plaintiff on the policy of LM General Insurance Company
is a valid claim under the above mentioned insurance policy.

36. Defendant, LM General Insurance Company, is required to pay under its policy.

37. Defendant, LM General Insurance Company, did not perform a proper
investigation

38. Defendant, LM General Insurance Company, did not act properly on the results of
their investigation

39. Defendant, LM General Insurance Company, did not properly evaluate the results
of its investigation properly.

40. The amount offered on the claim of Plaintiff by Defendant, LM General Insurance
Company, to satisfy the claim was unreasonably low.

4l. Defendant, LM General Insurance Company, did not fairly and in good faith deal
with Plaintiff,

42. The violation by Defendant, LM General Insurance Company, of its duty of good
faith and fair dealing was the direct cause of the injury sustained by Plaintiff,

43. Wherefore, Plaintiff prays for a judgment against Defendant, LM General Insurance

Company, in an amount in excess of $75,000.00, his costs, and other relief to which he may be

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 93 of 127
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entitled.

JURY TRIAL DEMAND RESERVED
ATTORNEY LIEN CLAlMED

Respectfully submitted,

THE EDWARDS LAW FIRM

Maerwards, oBA # 16570
Trevor J. Furlong, OBA#20208
The Edwards Law Firm

P.O. Box 1066

McAlester, OK. 74848

(918) 302-3700

(918) 302-3701

ATTORNEY FOR PLAINTlFF

Case 4:14-Cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 94 of 127

 

EXHIBIT 23

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IN THE DISTRICT COURT OF TULSA COUNTY
STATE OF OKLAHOMA DIS'PRICM § RB

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MONSI LGGRKE, § SU, 3 , 1011
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v. ) Case No. C]-2013-4766
_ ) Honorable Carlos Chappelle
DEMETRIES DEERING, KARA )
HUGHES, and LlBERTY MUTUAL )
GROUP INC. )
)
Defendants. )

DEFENDANT LM GENERAL INSURANCE COMPANY’S
MOTION FOR ENTRY OF AGREED PROTECTIVE ORDER

 

Defendant LM General Insurance Company (”Defendant”) respectfully moves
the Court for entry of an Agreed Protective Order in the subject litigation In support of
this Motion, Defendant states as follows:

1. Discovery in this litigation may involve the production of information that
includes disclosure of confidential, trade secret, proprietary, technical, business, and/or
financial information of the parties'or of non~parties, including, but not limited to, claims
handling policies and procedures, claims handling training materials, and other claims
handling documents

2. v The Agreed Protective Order requested provides a mechanism to protect

the disclosure of such information except for the legitimate purposes of this litigation `

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3. Counsel for Defendant has contacted counsel for Plaintiff to determine
Whether Plaintiff approves the proposed Agreed Protective f)rder. Plaintiff’s counsel
has advised that he approves and has signed the Agreed Protective Order, attached
hereto as Exhibit 1.

Defendant LM General Insurance Company respectfully requests that the Court
enter the proposed Agreed Protective Order, attached hereto as Exhibit 1.

Respectfully submitted,

 

 

Lindy H. C lins, OBA No. 30579

Nsw'roN O'CoNNoR TURNBR &; KETCHUM, P.C.
15 West Sixth Street, Suite 2700

Tulsa, Oklahoma 74119-5423

(918) 587-0101 telephone

(918) 587-0102 facsimile

ATTORNEYS FOR DEFENDANT LM GENERAL
INSURANCE COMPANY

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CERTIFICATE OF SERVICE

I hereby certify that on the 3rd day of September, 2014, a true and correct copy of
the forgoing was delivered via U.S. Mail, postage prepaid, to:

Trevor ]. Furlong

THE EDWARDS LAW FIRM
321 S. Third Street, Suite 1
PO BOX 1066

McAlester, OK 74502

ATTORNEYS FOR PLAINTIFF

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Lindy H. Coll'ubls/

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IN THE DISTRICT COURT OF TULSA COUNTY

STATE OP OKLAHOMA
MONSI LGGRKE, )
)
Plaintiff, )
)
v. ) Case No. C]-2013-4766
) Honorable Carlos Chappelle
DEMETRIES DEERING, KARA )
HUGHES, and LIBERTY MUTUAL )
GROUP INC. )
)
Defendants )

 

AGREED PROTECTIVE ORDER

 

Plaintiff Monsi L’Ggrke and Defendant LM General Insurance Company
acknowledge that certain documents produced in this action may contain trade secret,
confidential research, development or commercial informationl or personal confidential
information The parties, by and through their attorneys of record, therefore agree and
it is hereby ordered as follows:

1. Any party may designate as ”confidential" any documents or any portion
of a document produced by it in this litigation The party making the designation of
confidential material represents that it has done so` after. a bona fide determination
made in good faith that the material is in fact a trade secret, confidential research,
development, or commercial information or personal confidential information Each

document or portion of a document the party in good faith believes to contain trade
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secret, confidential research, development, or commercial information or personal
confidential information shall be marked ”Confidential" or ”Subject to Protective
Order.” The party shall take care that its designation does not obscure or render
illegible the information on the document so designated.

2. Any party may designate as ”confidential” a deposition or portion of a
deposition taken in this matter by stating on the record that the party is designating the
deposition or a portion of the deposition ”confidential” or by advising the court

' reporter and counsel for all other parties, in writing, within twenty (20) days of
receiving the deposition transcript of the page(s) and lines of the deposition that the
party deems "confidential."

3. As used in this Protective Order:

a. "Trade secret” shall have the same meaning as in 78 O.S. § 86(4).

b. ”Confidential research, development or commercial information” shall
refer to information that is maintained in secrecy from third parties and
which would result in substantial competitive harm if publicly disclosed.

c. _”Personal confidential information” shall include a person’s social
security number, medical records, personnel file, bank records, tax
information,and other sensitive, non-public information

4. Any party may challenge any other party/s designation of a document or

portion of a document as ”Confidentlal” or ”Subject to Protective Order.” A party shall

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not be obliged to challenge the propriety of a ”Confidential” or ”Subject to Protective
Order” designation at the time made, and failure to do so shall not preclude a
subsequent challenge thereto. ln the event that any party to this litigation takes issue at
any stage of these proceedings with such designation, such party shall provide to the
producing party written notice of its disagreement With the designation The producing
party shall respond, in Writing, within ten (10) days, by stating Whether it agrees or
disagrees that designation should be removed. The parties shall attempt to dispose of
such dispute in good faith on an informal basis. If the parties are unable to reach an
agreement, the producing party shall have twenty (20) days to seek relief from the
Court. If the producing party fails to seek relief within the time prescribed, the
document shall no longer be subject to this Protective Order. The fact a document has
been designated as ”Confidential” or "Subject to Protective Order” shall not create a
presumption the document is, in fact, confidential or entitled to protection by this
Protective Order. The burden of establishing that a document contains trade secret,
confidential research, development, or commercial information, or personal confidential
information and is entitled to the protection of this Protective Order shall remain on the
party making the designation Further, a party’s agreement to this Protective Order
does not prejudice the party's right to move the Court to lift the Protective Order for

good cause.

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5. Documents designated as ”Confidential” or ”Subject to Protective Order”
may be disclosed only to the following persons, unless prior written consent to further
disclosure has been obtained from counsel for the designating party or permission for
such disclosure has been given by the Court:

a. The Court under seal pursuant to the terms of this Order;

b. The attorneys working on this action on behalf of any party, including
inside, outside and consulting counsel, their legal associates,' paralegals,
and employees working under the supervision of such counsel;

c. Any director, officer or employee of a party who is required by such party
to work directly on this litigation, with disclosure only to the extent
necessary to perform such work;

d. Any person not employed by a party'who is expressly retained or sought
to be retained by any attorney described in paragraph 5(b) to assist in the
prosecution or defense of this action, including outside experts and their
employees;

e. Any actual or potential deposition or trial witnesses; and

f. Any mediator mutually agreed upon by the parties.

The persons described in paragraphs (c), (d), and (e) shall have access to ”Confidential"
material only after they have been made aware of the terms of this Order and have

manifested their assent to be bound thereby.

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6. It shall not be deemed a violation of this Order for counsel to disseminate
documents designated as ”Confidential” or ”Subject to Protective Order” at deposition
or as part of their filings with the Court. ln the event that any ”Confidential” material is
used in any deposition, filing or court proceeding during the course of this litigation, it
shall not lose its ”Confidential” status through such use. Any material designated as
”Confidential” under this Order shall, When filed with the Court, be submitted in a
sealed envelope or other container, and shall be prominently labeled on the first page:

”Contains Confidential lnformation - Subject to Court Order”
Any documents marked as "Confidential" pursuant to this Protective Order that are
admitted into evidence at trial of this matter Will lose their confidential status unless
otherwise ordered by this Court at the request of the producing party,

7. This Protective Order is not intended to preclude use or disclosure of any
document or information which is in the public domain, or which has been provided to
a party, his/her/its attorneys or experts, by a source independent of the designating
party or his/her/its attorney.

8. Any of the undersigned may request the Court to modify or otherwise
grant relief from any provision of this Order. Nothing in this Order shall operate as an
admission by any party that any particular document is, or is not, admissible in

evidence at the trial of this action.

 

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9. Nothing in this Order shall be construed as a waiver of any rights by any
party with respect to matters not specifically provided for herein.

10. This Court shall retain jurisdiction to enforce this Protective Order and
decide any issues relating to or arising from it. If the terms of this Protective Order are
Violated, the Court may grant such relief to the producing party as is just and necessary.

11. The terms and conditions of this Order shall remain in full force and effect
and shall survive the final resolution of this litigation unless the Order is terminated or
modified in writing by the parties or by further order of the Court.

12. All requests made by a party for a document to be filed ”under seal" in
accordance With this Order shall be made by motion and conform to the requirements

set forth in 12 O.S. §3226(€)(2), 51 O.S. § 24A.29, and Local Rule 10.1.

day of , 2014,

 

IT IS SO ORDERED THIS

 

The Honorable Carlos Chappelle
Judge of the District Court

 

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Ap%Approved:
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or, osA #13200

THE EDWARDS LAW FlRM Lindy H. 4 lins, OBA #30579
321 S. Third Street, Suite 1 NBwToN O ONNoR 'IURNER &
P.O. Box 1066 '

I<ETCHUM, PC
McAlester.OI< 74502 15 Wescsi><ch street suite 2700

ATTORNer ron PLAINTIFF T“lsa' OK 74119'5423

ATTORNEYS FOR DEFENDANT

 

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EXHIBIT 24

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IN THE DISTRICT COURT OF TULSA COUNTY

sTATE or oKLAHoMA §PIS§`RIE:T (EQ,UR§:D
MONSI LGGRKE,
§ SEP 4 ~ 2014
Plaintiff, )
sAu.Ynow=s.. .
) sims or bxii]i'ulcsgiur{'<iii'riii/m
V. ) Case No. CI-2013-4766
) Honorable Carlos Chappelle
DEMETRIES DEERING, KARA ) ‘
HUGHES, and LlBERTY MUTUAL )
GROUP INC. )
)
Defendants. )

 

AGREED PROTECTIVE ORDER

 

Plaintiff Monsi L’Ggrke and Defendant LM General Insurance Company
acknowledge that certain documents produced in this action may contain trade secret,
confidential research, development or commercial information, or personal confidential
information, The parties, by and through their attorneys of record, therefore agree and
it is hereby ordered as follows:

1._ Any party may designate as ”confidential” any documents or any portion
of a document produced by it in this litigation, The party making the designation of
confidential material represents that it has done so after a bona fide determination
made in good faith that the material is in fact a trade secret, confidential research,
development, or commercial information, or personal confidential information. Each

document or portion of a document the party in good faith believes to contain trade

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secret, confidential research, development, or commercial information, or personal
confidential information shall be marked ”Confidential” or ”Subject to Protective
Order.” The party shall take care that its designation does not obscure or render
illegible the information on the document so designated

2. Any party may designate as "confidential” a deposition or portion of a
deposition taken in this matter by stating on the record that the party is designating the
deposition or a portion of the deposition ”confidential” or by advising the court
reporter and counsel for all other parties, in writing, within twenty (20) days of
receiving the depositiontranscript of the page(s) and lines of the deposition that the
party deems ”confidential."

3, As used in this Protective Order:

a. "Trade secret” shall have the same meaning as in 78 O.S. § 86(4).

b. ”Confidential research, development or commercial information” shall
refer to information that is maintained in secrecy from third parties and
which would result in substantial competitive harm if publicly disclosed

c. ”Personal confidential information" shall include a person’s social
security number, medical records, personnel file, bank records, tax
information, and other sensitive, non~public information.

4. Any party may challenge any other party's designation of a document or

portion of a document as ”Confidential” or ”Subject to Protective Order.” A party shall

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not be obliged to challenge the propriety of a ”Confidential” or ”Subject to Protective
Order” designation at the time made, and failure to do so shall not preclude a
subsequent challenge thereto. In the event that any party to this litigation takes issue at
any stage of these proceedings with such designation, such party shall provide to the
producing party written notice of its disagreement with the designation The producing
party shall respond, in writing, within ten (10) days, by stating whether it agrees or
disagrees that designation should be removed. The parties shall attempt to dispose of
such dispute in good faith on an informal basis. If the parties are unable to reach an
agreement, the producing party shall have twenty (20) days to seek relief from the
Court. If the producing party fails to seek relief within the time prescribed, the
document shall no longer be subject to this Protective Order. The fact a document has
been designated as ”Confidential” or ”Subject to Protective Order” shall not create a
presumption the document is, in fact, confidential or entitled to protection by this
Protective Order. The burden of establishing that a document contains trade secret,
confidential research, development, or commercial information, or personal confidential
information and is entitled to the protection of this Protective Order shall remain on the
party making the designation Further, a party's agreement to this Protective Order
does not prejudice the party's right to move the Court to lift the Protective Order for

good cause.

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5. Documents designated as "Confidential” or ”Subject to Protective Order”
may be disclosed only to the following persons, unless prior Written consent to further
disclosure has been obtained from counsel for the designating party or permission for
such disclosure has been given by the Court:

a. The Court under seal pursuant to the terms of this Order;

b. The attorneys working on this action on behalf of any party, including
inside, outside and consulting counsell their legal associates, paralegals,
and employees working under the supervision of such counsel;

c. Any director, officer or employee of a party Who is required by such party
to work directly on this litigation, with disclosure only to the extent
necessary to perform such work;

d. Any person not employed by a party who is expressly retained or sought
to be retained by any attorney described in paragraph 5(b) to assist in the
prosecution or defense of this action, including outside experts and their
employees;

e. Any actual or potential deposition or trial witnesses; and

f. Any mediator mutually agreed upon by the parties.

The persons described in paragraphs (c), (d), and (e) shall have access to ”Confidential”
material only after they have been made aware of the terms of this Order and have

manifested their assent to be bound thereby.

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6. It shall not be deemed a violation of this Order for counsel to disseminate
documents designated as ”Confidential” or ”Subject to Protective Order” at deposition
or as part of their filings with the Court. In the event that any ”Confidential” material is '
used in any deposition, filing or court proceeding during the course of this litigation, it
shall not lose its ”Confidential” status through such use. Any material designated as
”Confidential” under this Order shall, when filed with the Court, be submitted in a
sealed envelope or other container, and shall be prominently labeled on the first page:

”Contains Confidential Information ~ Subject to Court Order”
Any documents marked as ”Confidential” pursuant to this Protective Order that are
admitted into evidence at trial of this matter Will lose their confidential status unless
otherwise ordered by this Court at the request of the producing party.

7. This Protective Order is not intended to preclude use or disclosure of any
document or information which is in the public domain, or which has been provided to
a party,_ his/her/its attorneys or experts, by a source independent of the designating
party or his/her/its attorney.

8. Any of the undersigned may request the Court to modify or otherwise
grant relief from any provision of this Order. Nothing in this Order shall operate as an
admission by any party that any particular document is, or is not, admissible in

evidence at the trial of this action.

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9. Nothing in this Order shall be construed as a waiver of any rights by any
party With respect to matters not specifically provided for herein.

10. This Court shall retain jurisdiction to enforce this Protective Order and
decide any issues relating to or arising from it. If the terms of this Protective Order are
violated, the Court may grant such relief to the producing party as is just and necessary.

11. The terms and conditions of this Order shall remain in full force and effect
and shall survive the final resolution of this litigation unless the Order is terminated or
modified in Writing by the parties or by further order of the Court.

12. All requests made by a party for a document to be filed ”under seal" in
accordance with this Order shall be made by motion and conform to the requirements

set forth in 12 o.s. § 3226(€)(2), 51 o.s. § 24A.29, and total Rule 10.1.

IT IS SO ORDERED THIS 9 l l day of 52 j g ¥z §§ ,2014.

CARLOS J. CHAPPELLE

The Honorable Carlos Chappelle
Judge of the District Court

 

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PWApproved.
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ot, oBA #13200

THE Bow:mos LAW FiRM Lindy H. l lins, OBA #30579
321 S. Third Street, Suite 1 NBWTON O ONNOR TU'RNBR &
P.O. BOX 1066 KETCHUM PC
McAle t , I< 74 '

S er 0 502 15 West sixth Street, suite 2700

ATTORNEYS ron PLAINTIFF Tulsa' OK 74119'5423

ATTORNEYS FOR DEFENDANT

 

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EXHIBIT 25

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IN THE DISTRICT COURT OF TULSA COUNTY

sTATE or oKLAHoMA
MONSI LGGRKE, )
)
Plaintiff, )
)
v. ) Case No. C]-2013-4766
) Honomble Carlos Chappelle
DEMETRIES DEERING, KARA )
HUGHES, LlBERTY MUTUAL )
GROUP lNC., and LM GENERAL ') msq~ttic'r c_oUR'i‘
INsURANCE COMPANY, ) iii jj ind
)
Defendants ) SEP 1 2 20‘4

LlBERTY MUTUAL GROUP INC.'s Sgl¢,§ ;‘g*,i€',;§_*,§"*,‘t_t‘§§}€f~‘l>§ii$“

NOTICE OF DISMISSAL OP CROSS-CLAIMS WITHOUT PREJUDICE
AS TO DEFENDANTS DEMETRIES DEERING AND KARA HUGHES

 

Defendant Liberty Mutual Group Inc. hereby dismisses their cross-claims against
Defendants Demetries Deering and Kara Hughes without prejudice, with each party to

bear their own attorney’s fees and costs,

Res ectfully submitted, `
nw ti flian /M
illiam W.})'Connor, oBA N<l. 13200
Lindy H. Collins, OBA No. 30579
NEw’roN, O’CoNNoR, TuRNER & KETCHUM, P.C.
15 West Sixth Street, Suite 2700
Tulsa, Oklahoma 74119

Telephone: (918) 587-0101
Facsimile: (918) 587-0102

ATTORNEYS FOR DEFENDANT,
LlBERTY MUTUAL GROUP INC.

Case 4:14-cv-00551-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 115 of 127

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CERTIFICATE OF SERVICE

I hereby certify that on the 12th day of September, 2014, a true and correct copy
of the forgoing was delivered via U.S. Mail, postage prepaid, to:

Trevor ]. Furlong

THE EDWARDS LAW FIRM
P.O. Box 1066
McAlester, OK 74848

ATTORNEYS FOR PLAINTIFFS

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firmly H. calling

 

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EXHIBIT 26

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IN THE DISTRICT COURT OF TULSA COUNTY

STATE OF OKLAHOMA
MONSI LGGRKE, )
)
Plaintiff, )
)
v. ) Case No. C]-2013-4766
_x ) Hojtorable Carlos Chappelle
DEMETRIES DEERING, KARA )
HUGHES, LlBERTY MUTUAL ) al`)lS‘l‘RIC'l‘ COURT
GROUP INC., and LM GENERAL ) i"' l is §
lNSURANCE COMPANY, -
§ stP122014
Defendants. )

v H \ F. SM\TH. COURT CLERK
Sl\`sliLnTF. (r)i\'v ()Kta.. IULBA GOUNTY

ANSWER OF LM GENERAL INSURANCE COMPANY
TO PLAINTIPP’S SECOND AMENDED PETITION

Defendant LM General Insurance Company (hereafter, ”Liberty Mutual"), for its
Answer to Plaintiff’s Second Amended Petition, alleges and states as follows:

1. Liberty Mutual is without knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph l of the Second Amended Petition
and, therefore, denies the same.

2. v Liberty Mutual is without knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 2 of the Second Amended Petition

and, therefore, denies the same.
3. Liberty Mutual is without knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 3 of the Second Amended Petition

and, therefore, denies the same.

 

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4. Liberty Mutual denies the allegations Of Paragraph 4 of the Second
Amended Petition.

5. Liberty Mutual admits the allegations of Paragraph 5 of the Second
Amended Petition.

6. Liberty Mutual admits the allegations of Paragraph 6 of the Second
Amended Petition.

7. Liberty Mutual is without knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 7 of the Second Amended Petition
and, therefore, denies the same.

8. Liberty Mutual is without knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 8 of the Second Amended Petition
and, therefore, denies the same.

9. Liberty Mutual is without knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 9 of the Second Amended Petition
and, therefore, denies the same.

10. Liberty Mutual is without knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 10 of the Second Amended Petition
and, therefore, denies the same.

11. Liberty Mutual denies the allegations of Paragraph 11 of the Second

Amended Petition.

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12. Liberty Mutual denies the allegations of Paragraph 12 of the Second
Amended Petition.

13. Liberty Mutual denies the allegations of Paragraph 13 of the Second
Amended Petition.

14. Liberty Mutual denies the allegations of Paragraph 14 of the Second
Amended Petition.

15. Liberty Mutual is without knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 15 through Paragraph 23 of the
Second Amended Petition, as such allegations pertain to Defendants other than Liberty
Mutual, and, therefore, denies the same.

16. 4 Liberty Mutual denies the allegations of Paragraph 24 of the Second
Amended Petition.

17. Liberty Mutual denies the allegations of Paragraph 25 of the Second
Amended Petition.

18. Liberty Mutual denies the allegations of Paragraph 26 of the Second
Amended Petition.

19. Liberty Mutual denies the allegations of Paragraph 27 of the Second
Amended Petition, and further states that Plaintiff is not entitled to any relief

Whatsoever.

 

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20. Liberty Mutual denies the allegations contained in Paragraph 28 as such
allegations constitute legal conclusions to which no answer is required.

21. Liberty Mutual admits the allegations of Paragraph 29 of the Second
Amended Petition.

22. Liberty Mutual denies the allegations of Paragraph 30 of the Second
Amended Petition.

23. Liberty Mutual denies the allegations of Paragraph 31 of the Second.
Amended Petition.

24. Liberty Mutual denies the allegations of Paragraph 32 of the Second
Amended Petition.

25. Liberty Mutual denies the allegations of Paragraph 33 of the Second
Amended Petition,z and further states that Plaintiff is not entitled to any relief
whatsoever.

26. Liberty Mutual admits that it owes a duty of good faith and fair dealing to
its insureds in accordance with Oklahoma law, but denies the remainder of the
allegations of Paragraph 34 of the Second Amended Petition.

27. Liberty Mutual denies the allegations of Paragraph 35 of the Second
Amended Petition.

28. Liberty Mutual denies the allegations of Paragraph 36 of the Second

Amended Petition.

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29. Liberty Mutual denies the allegations of Paragraph 37 of the Second
Amended Petition.

30. Liberty Mutual denies the allegations of Paragraph 38 of the Second
Amended Petition.

31. Liberty Mutual denies the allegations of Paragraph 39 of the Second
Amended Petition.

32. Liberty Mutual denies the allegations of Paragraph 40 of the Second
Amended Petition.

33. Liberty Mutual denies the allegations of Paragraph 41 of the Second
Amended Petition.

34. Liberty Mutual denies the allegations of Paragraph 42 of the Second
Amended Petition.

35. Liberty Mutual denies the allegations of Paragraph 43 of the Second
Amended Petition, and further states that Plaintiff is not entitled to' any relief
Whatsoever.

ADDITIONAL DEFENSES

Liberty Mutual, by way of further answer and defense, but not in diminution or

derogation of the admissions or denials set forth hereinabove, and subject to `

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amendment at the conclusion of all pretrial discovery, alleges and states as follows:

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36. Plaintiff’s Second Amended Petition fails to state a claim against Liberty
Mutual upon which relief can be granted.

37. The subject policy was issued by and the subject coverage is provided
under LM General Insurance Company and not Liberty Mutual Group Inc., which is not
a proper party to this action.

38. Plaintiff has failed to satisfy conditions precedent and subsequent to
recovery of benefits under the applicable policy.

39. The terms and conditions of the applicable policy do not entitle Plaintiff to
payment of any benefits thereunder.

40. At all times in the course of its dealings With Plaintiff, Liberty Mutual
acted reasonably, fairly, in good faith, and in conformity with the terms and conditions
of the applicable policy.

41. Plaintiff’s claims are barred by the doctrine of waiver, estoppel, and
laches.

42. An award of punitive damages under the alleged facts would violate the
Due Process, Equal Protection, and Excessive Fines clauses of the Constitutions of the
United States and the State of Oklahoma.

43. Plaintiff’s claims are barred by the economic loss doctrine.

44. Liberty Mutual hereby incorporates all of the provisionsl exclusions and

conditions contained within its policy of insurance under Which Plaintiff purportedly

 

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brings this action. Applying these provisions, any recovery is barred or must be
reduced accordingly.

45. Liberty Mutual owes no fiduciary duty to Plaintiff.

46. Liberty Mutual reserves the right to assert additional defenses revealed in
the course of discovery.

Defendant LM General Insurance Company, having answered Plaintiff’s Second
Amended Petition, asks that Plaintiff take nothing by way of the Second Amended
Petition and that the case be dismissed, judgment be rendered for LM General
Insurance Company, and that LM General Insurance Company be awarded all costs,
attorneys’ fees and other such relief as the Court may deem just and equitable in the
premises LM General Insurance Company further reserves leave to Answer to allege
any additional defenses or affirmative defenses which investigation and discovery may
reveal.

Respectfully submitted,

W@f/;MA/M

illiam w.o'connor, oBA No. i3200
Lindy H. Collins, OBA No. 30579
NBwToN, O’CoNNoR, TURNER & KETCHUM, P.C.
15 West Sixth Street, Suite 2700
Tulsa, Oklahoma 74119
Telephone: (918) 587-0101
Facsimile: (918) 587-0102
ATTORNEYS FOR DEFENDANT,
LM GENERAL INSURANCE COMPANY

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CERTIFICATE OF SERVICE

I hereby certify that on the 12th day of September, 2014, a true and correct copy
of the forgoing was delivered via U.S. Mail, postage prepaid, to:

Trevor ]. Furlong '

THE EDWARDS LAW FIRM
P.O. Box 1066
McAlester, OK 74848

ATTORNEYS FOR PLAINTIFFS

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indyH. Co}l ins

 

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EXHIBIT 27

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DISTRICT COURT
IN THE DISTRICT COURT OF TULSA COUNTY
F l is § 53

STATE OF OKLAHOMA
SEP l 6 2014
MONSI LGGRKE, )
E SM\tH, count cLERK
Plaintiff § SASLT%E%WOK\A. TuLsA couNTv
)
v. ) Case No. C]-2013-4766
) Honorable Carlos Chappelle
DEMETRIES DEERING, KARA )
HUGHES, LIBERTY MUTUAL )
GROUP lNC., and LM GENERAL )
INSURANCE COMPANY, )
)
Defendants. )

NOTICE OF DISMISSAL WITHOUT PRE]UDICE
A§ TQ DEFENDANT LlBERTY MUTUAL GROUPl INC.

Plaintiff Monsi L'Ggrke hereby dismisses the above~styled case against
Defendant Liberty Mutual Group, Inc., without prejudice, with each party to bear their

own attorney’s fees and costs,

 

 

Trevor ]. Furlong , ama *Jl* 1030 8
THE EDWARDS LAW FIRM

321 S. Third Street, Suite 7

P.O. Box 1066

McAlester, Ol< 74502

ATTORNEYS POR PLAINTIFFS

Case 4:14-cv-00551-CVE-FH|\/| Document 2 Filed in USDC ND/OK on 09/17/14 Page 127 of 127

 

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CERTIFICATE OF SERVICE
I hereby certify that on the Ur\\‘\ day of <.»`59¢\¢»~\/)3/ 2014, a true and

correct copy of the forgoing was delivered via U.S. Mail, postage prepaid, to:

William W. O'Connor, OBA No. 13200

Lindy H. Collins, OBA No. 30579

NBWTON, O'CONNOR, TURNER & KETCHUM, P.C.
15 West Sixth Street, Suite 2700

Tulsa, Oklahoma 74119

ATTORNEYS FOR DEFENDANT,
LlBERTY MUTUAL GROUP, INC.

Trevor Furlong

 

